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                      Exhibit “1”
                         (Hi-Shear Lease)
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                                      LEASE




                               CITY OF TORRANCE,
                               a municipal corporation
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                                      (“City")

                                                                              O
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                                        and
                                                                                 J


                             HI-SHEAR CORPORATION,
                                a Delaware corporation

                                     (“Lessee”)




                                   July 27, 2004




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        Exhibit B               Sketch Map of Leased Premises
        Exhibit C               Description of the Project, Conceptual Plans
        Exhibit D               Quitclaim Deed and Release
        Exhibit E               FAA Provisions and Avigation Requirements




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                                                  LEASE


            THIS LEASE (this “Lease”), made and entered into at Torrance, California, dated for
    reference purposes only as of July 27, 2004, and effective as of the 151 day of August, 2004, (die
    “Effective Date”) by and between the CITY OF TORRANCE, a municipal corporation,
    hereinafter referred to as “City”, and HI-SHEAR CORPORATION, a Delaware corporation
    (“Lessee”).

                                           WITNESSETH:

            (a)    The City is the owner in fee of the real property constituting the Leased Premises
    (as defined in Section 1 below), approximately 14 acres in size, located at 2600 Skypark Drive,
    in the City of Torrance, California. Said Leased Premises are a part of the Torrance Municipal
    Airpon, the boundaries of which are described in that certain Quitclaim Deed (“Quitclaim
    Deed”) executed by the United States of America, dated March 5, 1948, recorded on May 13,
    1948, in Book 27145, Page 362, of Official Records in the Office of the County Recorder of Los
    Angeles County (the “Official Records”), a copy of which Quitclaim Deed is attached hereto as
    Exhibit “D”.

            (b)     By instrument of Release dated July 25, 1962, recorded on August 24, 1962, in
    Book R-1308, Page 800, of Official Records, a copy of which Release is attached hereto as
    Exhibit “D”, the United States of America, acting by and through the Administrator of the
    Federal Aviation Administration, released, with certain exceptions, the Leased Premises, among
    other lands, from the conditions, reservations and restrictions of said Quitclaim Deed.

            (c)     The City leased to Lessee (or Lessee’s predecessors in interest) the Leased
    Premises and certain adjoining property (the “Adjoining Premises”), and Lessee has been in
    continuous occupancy of the Leased Premises, pursuant to that certain Consolidation Lease
    Agreement dated May 31, 1959 and that certain Lease Agreement dated May 31, 1959, as
    amended by that certain Amendment to Consolidation Lease Agreement dated July 1, 1960, and
    that certain Second Amendment to Consolidation Lease Agreement dated May 4, 19S3
    (collectively, with any and all other amendments, modifications, and agreements related thereto,
    the “Consolidated Lease Agreement”); that certain Lease dated July 1, i960 (together with any
    and ail other amendments, modifications, and agreements related thereto, the “7/1/1960 Lease”);
    that certain Lease Agreement dated November 19, 1954 (together with any and all other
    amendments, modifications, and agreements related thereto, the “11/19/1954 Lease”); and that
    certain Lease Agreement dated August 9, 1956 (together, with any and all other amendments,
    modifications, and agreements related thereto, the "8/9/1956 Lease”) (the Consolidated Lease
    Agreement, the 7/1/1960 Lease, the 11/19/1954 Lease, the S/9/1956 Lease and any and all other
    amendments, modifications, and agreements by and between Lessee and/or Lessee's
    predecessors in interest relating to the Leased Premises are collectively referred to herein as the
    "Original Lease”).

           (d)     As of June 30, 2004, the Consolidation Lease Agreement and the 7/1/1960 Lease
    will expire by their terms. The 11/19/1954 Lease and the S/9/1956 Lease provide an expiration
    oPNovember 30, 2004. Notwithstanding the foregoing or any provision in the 11/19/1954 Lease


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     and/or the 8/9/1956 Lease to the contrary, the parties desire to terminate the 11/19/1954 Lease
     and the 8/9/1956 Lease and City desires to lease to Lessee, and Lessee desires to hire from City,
     the entire Leased Premises pursuant to this Lease, for Lessee’s continued use of the entire Leased
     Premises for manufacturing and industrial uses consistent herewith, all on the terms and
     conditions set forth herein effective as of the Effective Date.

              (e)    The City will benefit from the execution of this Lease, inter alia, by reason of
     (i) the potential for greater rents which may flow to it as contrasted to the rents receivable under
     the Original Lease, (ii) the potential for increased property taxes that will result from the
     upgrading of the improvements on the Leased Premises, and (iii) the impetus to the upgrading
     and revitalization of the surrounding area that is expected to result therefrom.

             (0     The City Council therefore declares that the Leased Premises are being leased
     hereby for commercial development for business purposes pursuant to the authority contained in
     Sections 37380 and 37395 of the California Government Code and pursuant to the powers
     conferred on the City by the provisions of Article XI of the Constitution of the Slate of
     California and by the Torrance Municipal Code.

            (g)    The City, acting by and through the City Council, has determined by Resolution
     Number 2004-94 adopted on July 27, 2004, that such property is not required for other City
     purposes and that it is in the public interest that this Lease be executed.

          NOW, THEREFORE, IN CONSIDERATION OF THE LEASED PREMISES AND OF
     THE MUTUAL COVENANTS HEREIN CONTAINED, IT IS HEREBY AGREED AS
     FOLLOWS:

                            LEASED PREMISES

                   For and in consideration of the rents, covenants and conditions herein contained,
    the City does hereby lease to Lessee and Lessee hereby hires from City that certain real property
    commonly known as 2600 Skypark Drive, located in the City of Torrance, State of California
    which real property is legally described on Exhibit “AT and located as shown on Exhibit ‘TV1,
    attached hereto and made a part hereof, which real property is hereinafter referred to as the
    “Leased Premises”, together with the nonexclusive easements more particularly described on
    Exhibit “A” and depicted on Exhibit “B” as the “Remediation Easement” and the “Walermain
    Easement”, and reserving therefrom, together with the right to grant and transfer the same, the
    “Road Easement”, as more particularly described on Exhibit “A” and depicted on Exhibit “B”
    Lessee and City stipulate that the Leased Premises contain !4 acres and that, notwithstanding
    any remeasuremenl that may occur, the City and Lessee agree for all purposes of this Lease the
    Leased Premises shall be deemed to consist of 14 acres.

                   2.       INITIAL TERM; OPTION TO EXTEND

                            The “Term” of this Lease shall begin on the Effective Date and expire at midnight
    June 30, 2014.

                  Provided that Lessee is not then in default hereunder. Lessee shall have the right
    and option to extend the term of this Lease for three (3) five year periods (each an “Option


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     Period” and coiiectively, the “Option Periods”), uPon ti16 same terms and conditions herein
     provided for in this Lease, except for rental adjustments to be made during said Option Periods
     pursuant to Article 4 below, and except that Lessee shall have no further options to extend the
     term. Lessee shall exercise the foregoing option(s), if at all, by giving City written notice of each
     such exercise not less than twelve (12) calendar months prior to the expiration of the initial term
     or prior exercised extended term of this Lease (in accordance with the provisions of Article 4
     below).

                3.       RENT

                     On or before the first day of each month during the Term of the Lease, Lessee
     shall pay, in advance, to the City rent (together, along with any and all applicable adjustments
     hereinafter referred to as “Rent”) pursuant to the following schedule:

     Year 1       July   1,2004-Jime 30, 2005   51250.00 per acre per month, Monthly Rent = $17,500
     Year 2       July   1,2005-Jime 30, 2006   $1562.00 per acre per month. Monthly Rent = 521 ,S6S
     Year 3       July   1,2006-June 30, 2007   SI875-.00 per acre per month, Monthly Rent = $26,250
     Year 4       July   1,2007-June 30, 200S   $2187.50 per acre per month, Monthly Rent = 530,625
     Year 5       July   1,2008-June 30, 2009   52500.00 per acre per month. Monthly Rent = 535,000
     Year 6       July   1,2009-Jime 30, 2010   $3000,00 per acre per month, Monthly Rent = 542,000
     Year?        July   1,2010-June 30, 2014   Monthly Rent based on CPI adjustments

             Commencing on July 1,2010, and the commencement of each Lease Year (as hereinafter
     defined) thereafter (the “Adjustment Date”), the Rent shall be increased in proportion to the
     increase, if any, in the “Consumers Price Index, All Urban Consumers”, 1982-84 = 100
     (“Index”), prepared by the United States Bureau of Labor Statistics, Department of Labor (the
     “Bureau”) for the immediately preceding Lease Year; provided, however, in no event shall any
     installment of minimum monthly Rent adjusted in accordance herewith be less than one hundred
     two percent (102%) of the monthly Rent in effect immediately preceding the applicable
     Adjustment Date nor exceed one hundred five percent (105%) of the monthly Rent in effect
     immediately preceding the applicable Adjustment Dale. As used herein, the term “[.ease Year”
     shall mean each twelve (12) month period commencing on July 1, 2004, The proportionate
     increase in the Index for each Lease Year shall be determined by dividing the Index published
     for the second month preceding the then current Adjustment Date by tire Index for the second
     month preceding the immediately preceding Adjustment Date. In the event that the Index is not
     published in the requisite month, then the Index utilized shall be the Index published for the
     month that is closest chronologically.

            If said Bureau shall revise said Index, the parties shall accept the method of revision or
    conversion recommended by said Bureau; if said Index shall be discontinued with no
    recommended substitute, another index generally recognized as authoritative shall be substituted
    by agreement of die parties. If the parties are unable to agree upon a substitute index within
    thirty (30) days after demand by either party, on application of either party, then the substitute
    index shall be selected by the Chief Officer of the San Francisco Regional Office of the Bureau
    of Labor Statistics or its successor.




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                                                                                               )




         4.         ADJUSTMENT OF RENT DURING OPTION PERIODS: I;A1R RENTAL
    VALUE

                    A.     Adjustment

                            (1)    Notwithstanding the provisions of Article 3 above, or any other
    provision to the contrary set forth herein, in the event that Lessee intends to exercise its option(s)
    to extend the Term of this Lease pursuant to Article 2 above, then on or before the date that is at
    least twelve (12) calendar months prior to the commencement of any Option Period, Lessee shall
    deliver notice to City of such intent and City and Lessee shall conduct a Fair Market Rent
    Analysis (as hereinafter described). To the extent that, after the Fair Rental Value is determined
    in accordance with this Section 4, Lessee desires to revoke the exercise of its option(s)
    hereunder, then Lessee shall deliver to City written notice of such revocation on or before the
    date that is nine (9) calendar months prior to the expiration of the initial term or prior exercised
    extended term of this Lease; provided, however, if through no fault of Lessee the Fair Rental
    Value has not been determined on or before the date that is (9) calendar months prior to the
    expiration of the initial term or prior exercised extended term of this Lease, Lessee shall have
    fifteen (15) calendar days after the Fair Rental Value has been determined to deliver the notice of
    revocation. If such notice of revocation is not delivered in a timely manner, the Term of the
    Lease will be deemed extended without the need for further action. Commencing on the dale of
    commencement of each Option Period, the Rent shall be adjusted to the Fair Rental Value (as
    hereinafter defined) in accordance with this Article 4.

                          (2)    “Fair Rental Value” shall mean the amount determined by the
    parties to be the fair market value of the Leased Premises, exclusive of the improvements
    thereon, based upon the manufacturing and industrial uses permitted hereunder as of the date that
    is twelve (12) calendar months prior to the commencement of any Option Period, multiplied by a
    7.0% annual rate of return. The foregoing calculation shall be referred to herein as the “Fair
    Rental Value Analysis.”

                          (3)     The parties hereto acknowledge that the Rent has not been
    calculated in the manner described in the immediately preceding Paragraph, and that,
    accordingly, the Rent shall not be considered in determining the Fair Rental Value of the Leased
    Premises during any Option Period for which these Fair Rental Value provisions are applicable.

                          (4)      If the parties cannot agree on the Fair Rental Value' of the Leased
    Premises for any given Option Period, then such Fair Rental Value shall be determined by
    arbitration in accordance with Paragraph 4(B) below. Pending such determination by the
    arbitrators. Lessee shall continue to pay the Rent in accordance with this Lease until the Fair
    Rental Value of the Leased Premises has been determined by the arbitrators, flic adjusted Rent
    determined by the arbitrators (which shall be equal to the Fair Rental Value of the Leased
    Premises) shall be retroactive to the dale upon which the Option Period (as applicable)
    commenced, and on the first day of the month following the dale on which the arbitrators
    determine the Fair Rental Value of the Leased Premises (the ‘ Adjustment Date”), Lessee shall
    pay the adjusted Rent for the period from the commencement of the applicable Option Period to
    the Adjustment Date, and for the month commencing on the Adjustment Date.




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                            (5)   Commencing on the date that is one year after each Adjustment
     Date, and each Lease Year thereafter during an Option Period, the adjusted Rent shall be
     increased in proportion to the increase, if any, in the Index, prepared by the Bureau (as more
     particularly set forth in Section 3); provided, however, in no event shall any installment of
     minimum monthly Rent adjusted in accordance herewith be Jess than one hundred two percent
     (102%) of the monthly Rent in effect immediately preceding the applicable Adjustment Date nor
     exceed one hundred five percent (105%) of the monthly Rent in effect immediately preceding the
     applicable Adjustment Date.

                        B.   Arbitration

                             (1)    If arbitration is required to fix the Fair Rental Value of the Leased
    Premises, such arbitration shall be conducted in the following manner: Within ten (10) days
    after the parties determine that they have failed to determine a mutually acceptable figure for the
    Fair Rental Value, the City shall appoint an arbitrator and give written notice thereof to Lessee,
    and within ten (10) days after the receipt of such notice, Lessee shall appoint an arbitrator and
    give written notice thereof to the City, or in case of the failure of either party hereto so to do, the
    other party shall have the right to apply to the Superior Court of Los Angeles County, California,
    to appoint an arbitrator to represent the defaulting party. The two arbitrators thus appointed (in
    either manner) shall select and appoint in writing a third arbitrator and give written notice thereof
    to the City and Lessee, or if within ten (10) days after their appointment, the two arbitrators shall
    fail to appoint a third, then either party hereto shall have the right to make application to said
    Superior Court to appoint such third arbitrator. All such arbitrators shall have a minimum of ten
    (10) years experience commercial real estate appraisal and shall he both impartial and unrelated
    to either of the City or the Lessee.

                            (2)    The three arbitrators so appointed (in either manner) shall within
    ten (10) days after all have been appointed fix a convenient time and place in the County of Los
    Angeles within thirty (30) days thereafter for hearing the matter to be arbitrated and shall give
    written notice thereof to each party hereto at least five (5) days prior to the date so fixed, and said
    arbitrators shall with reasonable diligence hear and determine the matter in accordance with the
    provisions hereof and of the statutes and judicial decisions of the State of California at the time
    applicable thereto, and shall execute and acknowledge their award thereon in writing and cause a
    copy thereof to be delivered to each of the parties hereto.

                            (3)    The award of a majority of said arbitrators shall determine the
    question arbitrated, and a judgment may be rendered by said Superior Court confirming said
    award, or the same may be vacated, modified,' or corrected by said Court, at the instance of either
    of the parties hereto, in accordance with the then existing statutes of the State of California
    applicable to arbitrations, the provisions of which statutes shall apply hereto as fully as though
    incorporated herein.

                            (4)     If two of the three arbitrators first appointed as aforesaid shall fail
    to reach an agreement in the determination of the matter in question, the same shall be decided
    by three new arbitrators, who shall be appointed and shall proceed in the same manner as
    hereinabove set forth, and said process shall be repeated until a decision is finally reached by two
    of the three arbitrators selected.



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                           (5)    Eacli of the parties hereto shall pay for the services of its appointee
    and one-half (1/2) of the fee charged by the arbitrator selected by their appointees and of all
    other proper costs of arbitration, with the exception of attorneys’ fees and witness fees which
    shall be borne solely by the party incurring such fees.

             5.    ADDITIONAL RENT

                    In addition to the Rent described in Article 3 above (as such Rent may be adjusted
    in accordance with Article 4 above), all other charges and sums payable by Lessee hereunder
    shall be deenied to be additional rent (“Additional Rent”) hereunder, whether or not the same be
    designated as such, and shall be due and payable (if payable to a third party) not later than the
    dates on which the same are due and payable, or (if payable to City) within ten (10) days of
    City’s written demand or together with the next succeeding installment of Rent, whichever shall
    first occur, and City shall have the same rights and remedies upon Lessee’s failure to pay the
    same as for the nonpayment of the Rent.

             6.    PLACE OF PAYMENT AND LATE PAYMENT

                   A.      Place of Payment

                           All Rent and Additional Rent payments shall bo paid, without deduction or
    offset, to the office of the Treasurer of the City at 3031 Torrance Boulevard, Torrance,
    California, 90503, or at such place as the City shall from time to time designate in writing.

                   B.      Late Payment

                           In the event any payment required hereunder is not made within ten (10)
   days after the date City delivers written notice that the payment has not been made when due, the
   Lessee acknowledges that the amount necessary to adequately compensate the City would be
   impracticable and extremely difficult to calculate. Therefore, Lessee agrees that in addition to
   the Rent and Additional Rent, Lessee shall pay an additional 3% of the overdue amount as a late
   charge; provided, however, that in no event shall the amounts payable to the City pursuant to this
   Paragraph 6(B) exceed the maximum amounts allowed by law.

                   C.      No Relief from Default

                           The provisions herein for payment of late charges shall not be construed to
   extend the date for payment of any sums required to be paid by Lessee hereunder or to relieve
   Lessee of its obligation to pay all such sums at the time or times herein stipulated.
   Notwithstanding the imposition of such late charges, Lessee shall be in default under this Lease
   if any or all payments required to be made by Lessee are not made at the time herein stipulated
   (including any grace periods set forth in this Lease), and neither the demand for, nor collection
   by. City of such late charges shall he construed as a curing of such default on the part of Lessee.




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                      7.     USE

                     Lessee’s use of the Leased Premises shall be consistent with Lessee’s existing
     uses of the Leased Premises immediately prior to the Effective Date, including, without
     limitation, light manufacturing, manufacturing, storage, services, repair, engineering, sales,
     product demonstration, ancillary storage, parking of cars for Lessee’s employees and invitees
     (but not for public or other third party parking) and all other uses incidental and related to
     manufacturing, warehouse and office facility in connection with Lessee’s business of
     manufacturing and distribution of aerospace fasteners and automotive components and for no
     other purpose or purposes, unless the prior written consent of the City Council thereto has been
     obtained, which consent may be given or refused in the sole discretion of the City Council,

                     S.      TITLE AND POSSESSiON

                             A,    Possession

                           Possession of the Leased Premises shall be deemed to have been delivered
    to Lessee on the Effective Date. Lessee acknowledges and agrees that Lessee (and/or its
    predecessors-in-interest) has had exclusive possession of the Leased Premises and the Adjoining
    Premises since 1954 and that Lessee is and shall be responsible for the current condition of the
    Leased Premises, the Adjoining Premises and any affected surrounding premises, and the
    improvements located thereon and for the expeditious investigation, removal, and remediation of
    all Hazardous Materials (as defined in Section 18(B) below) that may have been discharged,
    released, placed or disposed of on, in, under, or about the Leased Premises, the Adjoining
    Premises and any affected surrounding premises, and/or the improvements located thereon,
    during the term of the Original Lease (except for Hazardous Materials that have migrated onto
    the Leased Premises, Adjoining Premises, or any affected surrounding premises through no fault
    of Lessee) and, with respect to the Leased Premises only, during the term of this Lease (''Lessee
    Contamination”). Lessee further agrees that it shall defend, indemnify and hold City and the
    City’s officers, directors, trustees, members, agents, employees, contractors, consultants and
    representatives, and City’s property, harmless from any and all claims, demands, liabilities,
    obligations, expenses and/or penalties arising out of or in connection with l essee's
    Contamination in accordance with the provisions of Article IS below.

                             B.    Warranty of Authority

                            (1)     The City warrants that it has full right, legal capacity and authority
    to enter into and perform its obligations under this Lease and that the Mayor and the City Clerk
    are authorized and directed to execute and attest this Lease for and on behalf of the City, and that
    the- Charter of the City authorizes the City Attorney to approve the form of lids Lease; and except
    as otherwise set forth in this Lease, no approval or consent not heretofore obtained is necessary
    in connection with its execution on behalf of the City or the performance of the City’s
    obligations hereunder.

                           (2)     Mary Hanley, as the Chief Financial Officer and Secretary of
    Lessee, hereby represents and warrants to the City that he/she has the full right, legal capacity
    and authority to enter into the obligations of Lessee under this Lease; that said Lessee is or shall



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    be the sole owner of the leasehold interest under this Lease as of the instant prior to the time of
    effectiveness of this Lease; that no approval or consent is necessary in connection with his
    execution of this Lease on behalf of Lessee or the performance of Lessee’s obligations
    hereunder; that a true and correct copy of Lessee’s Certificate of Formation, as filed with the
    Delaware Secretary of State, have been delivered to the City, and that Lessee is a duly qualified
    corporation in good standing under the laws of the State of Delaware and is duly quali fied to
    transact business and in good standing under the laws of the State of California.

            9.      CONSTRUCTION

                    A.     Covenant to Remodel. Uperadc. and Rebuild

                          (1)    Subject to the conditions hereinafter provided in this Paragraph 9,
    Lessee agrees to upgrade the existing landscaping and exterior facades of the buildings on the
    Leased Premises by completing, at its own cost and expense, the work described on Exhibit l'C”
    hereto, which work is hereinafter called the “Project".

                   B.      Construction Plans.

                           Attached hereto as Exhibit “C” are the conceptual plans and specifications
    for the Project (the “Plans”). Within thirty (30) days of the Effective Date. Lessee .shall prepare
    and submit to the Director of Community Development an application for the Director's
    approval of the final plans and specifications for the Project. From and after the date that the
    Director approves of the final plans and specifications for the Project, no revisions or
    modifications to such final plans shall be made unless the Lessee has obtained the prior written
    consent of City, which consent may be withheld in City’s sole and absolute discretion.

                   C.      Building Permits and Parcel Map

                            Before commencing the Project, Lessee shall obtain all applicable
    permit(s), including, without limitation building permits, as required by the Torrance Municipal
    Code (which incorporates the City’s Building and Fire Codes) and any amendments thereto, or
    any other Applicable Laws. Lessee agrees that if, in the reasonable opinion of the City Attorney
    of the City, this Lease, or any transaction contemplated by this Lease, requires the filing for
    record, in accordance with the Torrance Municipal Code and the California Subdivision Map
    Act, of a pared map with respect to this Lease, Lessee shall fully cooperate (which cooperation
    shall include, without limitation, execution by both Lessee and Lessee’s lender(s). if applicable
    of any an all consents, applications, and maps as may be necessary or desirable), at no expense to
    Lessee, with the City in the preparation, processing and filing for record of such a parcel map.

                   D.     Completion

                           (1)    Subject to the provisions of Paragraph 9(E) below. Lessee shall
    commence the Project not later than one hundred eighty (ISO) days after the Effective Date, shall
    proceed with the Project with reasonable diligence, and shall complete the Project within five (5)
    years of the Effective Date.




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                            (2)    The Project shall be deemed to be complete when, and only when,
     (a) all work for the Project has been completed in accordance with the approved Plans (as set
     forth in Paragraph 9(B) above), (b) the City Manager or designee, in his or her reasonable
     discretion, has confirmed the completion of the Project in accordance with the approved Plans,
     and (c) the Director of Building and Safety, or designee, has confirmed the completion of the
     Project in accordance with the approved Plans.

                          E.   Force Maieurc

                             The time within which Lessee is obligated hereunder to commence and
    complete the Project or cure any default on the part of Lessee hereunder shall be extended for a
    period of time equal in duration to, and performance in the meantime shall be excused on
    account of and for and during the period of, any delay caused by strikes, threats of strikes,
    lockouts, war, threats of war, insurrection, invasion, acts of God, calamities, violent action of the
    elements, fire, action or regulation of any governmental agency, law or ordinance, impossibility
    or material delays in obtaining materials, administrative delays by the City in the processing of
    governmental permits or improvements, delays directly caused by the City’s changes to the
    Plans, or other things beyond the control of Lessee. Notwithstanding anything to the contrary set
    forth in tins Lease, this Paragraph shall not apply to any delay resulting from Lessee’s changes to
    the Plans.

                          F.   FAA Filing

                        Prior to the commencement of any work on the Project, if applicable.
    Lessee shall file Form 7460-1 and receive approval thereof from the Federal Aviation
    Administration.

                          G.   Interference with Aircraft

                          Lessee shall not light or operate, or cause or permit to be lighted or
    operated, any equipment which would interfere with the navigation, landing or takeoff of aircraft
    on the runways and in the aeronautical areas of the Airport.

                          H.   Acoustical Treatment

                            The following provisions are set forth solely for the purposes of the City
    disclosing to Lessee that certain acoustical treatments may be required pursuant to Applicable
    Laws, including, without limitation rules and regulations promulgated by the FAA. The
    provisions of this section shall not be interpreted in any manner to impose any additional
    responsibility, other than as is imposed under Applicable Laws, upon Lessee with respect to the
    matters set forth herein it being expressly understood and agreed that the City is not requiring
    any retrofitting or other acoustical treatment of the Lessee's improvements beyond what is
    required by Applicable Laws.

                           (1) All buildings located upon the Leased Premises shall be designed to
    provide an interior noise level within a LegA weighted sound level of 50 dBA and a Lmax peak
    value of 60 dBA. The designer must prepare detailed plans of construction showing the sound
    insulation assembly to resist the airborne Community noise equivalent level contours of 60 c!B


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     CNEL or greater. The contour map will be provided by the Airport Division of the City’s
     Department of Transportation.

                            To the extent applicable, before commencement of the Project, Lessee
     shall submit to the Director an analysis of the plans by an acoustical engineer certifying that, in
     his opinion, such level will not be exceeded. A building permit will not be issued for any
     buildings unless and until the City’s acoustical consultant certifies that, in his reasonable
     opinion, such level will not be exceeded.

                            (2)    Definitions of standards specified in Section 1092 of Part 1 of Title
     25 of the California State Housing Code are incorporated in this Lease as a minimum standard of
     compliance.

                            (3)      Before occupancy of any part of any constructed, remodeled, or
    reconstructed building is permitted, the Lessee shall submit to the Department of Building and
    Safety a statement by an acoustical engineer certifying that said buildings have been constructed
    in accordance with such acoustical plans and that, in his opinion, such level has not been
    exceeded.    Such occupancy shall not be approved unless and until the City's acoustical
    consultant certifies that, in his reasonable opinion, such level has not been exceeded.

                     I.    Liquidated Damages

                            If Lessee fails to comply with the timing requirements of Paragraph 9(D),
    as to the completion of the Project, then Lessee shall pay to the City the sum of 510,000 for each
    month or fraction thereof until such completion of the Project as liquidated damages for such
    failure to complete of the Project.

                          Lessee agrees and stipulates that it would be extremely difficult to fix the
    actual damages of City that would result from Lessee’s failure to timely comply with Paragraph
    9(D), and that, accordingly, the agreement of Lessee to pay the amounts specified above as
    liquidated damages in lieu thereof is reasonable under the circumstances existing as of the date
    hereof.

                     J.    Property of Lessee

                           Any Improvements existing as of the commencement of the Term of this
    Lease or which shall be constructed, remodeled, reconstructed or placed on the [.eased Premises
    shall become the property of Lessee for the Term of this Lease, subject to the terms and
    conditions hereof, and shall become the property of the City (exclusive of Lessee's trade fixture
    and equipment) upon the expiration or sooner termination of this Lease as provided herein.
    Lessee shall be responsible for all maintenance of all Improvements in accordance with the
    provisions of this Lease.




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                  10.   HENS

                        A.     Payment bv Lessee

                            (1)     Subject to Lessee’s right to contest the same as hereinafter
     provided in Paragraph 10(D) below, Lessee agrees that it will pay ns soon as due all mechanics’,
     laborers', materialmen’s, contractors’, subcontractors', or similar charges, and all other charges
     of whatever nature which may become due, attached to or payable on said Leased Premises or
     any part thereof or any building, structure or other improvements thereon, from and after the date
     as of which this Lease is executed or as a result of any work performed on the Leased Premises
     by Lessee or any of Lessee’s agents, employees or contractors prior to such date.
     Notwithstanding the foregoing, Lessee shall not be responsible for any such-charges arising from
     work performed on the Leased Premises by the City’s employees or agents.

                            (2)    Nothing herein contained shall in any respect make Lessee the
     agent of the City, or authorize Lessee to do any act or to make any contract encumbering or in
     any manner affecting the title or rights of the City in or to the Leased Premises or the
     improvements thereon.

                        B.     Notice

                           Before any buildings, structures or other improvements or additions
    thereto, of an aggregate cost in excess of Fifty Thousand Dollars ($50,000) are constructed,
    remodeled or reconstructed upon the Leased Premises, Lessee shall serve written notice upon the
    City, in the manner provided for in- Paragraph 27 herein, twenty (20) days prior to
    commencement of Lessee’s intention to perform such work for the purpose of enabling the City
    to post and record notices of nonresponsibility under the provisions of Section 3094 of the
    California Civil Code, or any other similar notices which may be required by law.

                        C      Bond

                           If any such mechanics' or other Hens shall at any time be filed against the
    Leased Premises or any portion thereof or interest therein. Lessee shall cause the same to be
    discharged of record within thirty (30) days after the date of filing the same, or otherwise free the
    Leased Premises from the effect of such claim oflien and any action brought to foreclose such
    lien, or Lessee shall promptly furnish to the City a bond in an amount and issued by a surety
    company satisfactory to the City, securing the City against payment of such lieu and against any
    and all loss or damage whatsoever in any way arising from the failure of Lessee to discharge
    such lien.

                        D.   Contest

                            Any contest by Lessee-of any such liens shall he made by Lessee in good
    faith and with due diligence and Lessee shall fully pay and immediately discharge the amount of
    any final judgment rendered against the City or Lessee in any litigation involving the
    enforcement of such liens or the validity thereof.




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                     E.    Discharge by City

                            in the event of Lessee’s failure to discharge of record any such
    uncontested lien within said thirty (30) day period or to pay and satisfy any such judgment as
    aforesaid, the City may, but shall not be obligated to, pay the amount thereof, inclusive of any
    interest thereon and any costs assessed against Lessee in said litigation, or may discharge such
    lien by contesting its validity or by any other lawful means.

                     F.    Repayment bv Lessee

                          Any amount paid by the City for any of the aforesaid purposes, and all
    reasonable legal and other expenses of the City, including reasonable counsel fees, in defending
    any such action or in connection with procuring the discharge of such lien, with all necessary
    disbursements in connection therewith, together with interest thereon at the rate of one and one-
    half percent (1-1/2%) per month from the date of payment, shall be repaid by Lessee to the City
    on demand; provided that, interest payable hereunder shall in no event exceed the maximum per
    annum rate permitted under applicable law. To the extent any such payment of interest
    hereunder would exceed such maximum rate, such payment shall be deemed to be an advance
    against Rent as to which Lessee shall be credited on the next installment of Rent payable
    hereunder.

                     G.   Survival

                            The provisions of this Article 10 shall expressly survive the expiration or
    earlier termination of tins Lease.

               11.   OFF-STREET PARKING

                  Lessee shall comply with any and all off-street parking requirements of all
   ordinances of the City and laws of the State. This provision shall not limit the scope of the
   provisions of Paragraph 24 herein.

               12.   ALTERATIONS AND ADDITIONAL IMPROVEMENTS

                     A.    Construction Approval

                          Except as provided in Article 9 above, Lessee shall not construct any
   exterior building, structure or other improvement on the Leased Premises unless the plan
   showing the location thereof and construction plans and specifications are first approved by the
   Director of Building and Safety and by the City Council of the City, and the giving of such
   consent shall be within such Director’s and City Counsel’s sole discretion and shall not be a
   waiver of any rights to object to further or future construction.          Lessee’s construction,
   remodeling and/or reconstruction of the interior of any building, structure or other improvement
   located on the Leased Premises shall not require the consent by the City Council of the City and
   shall only be subject to approval by the Director of Building and Safety (and/or other applicable
   governmental agencies) to the extent required by Applicable Laws.




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                           B.    Alteration Approval

                            Except as provided in Article 9 above. Lessee shall not make any exterior
     changes or alterations, structural or otherwise, to any building, structure, or other improvement
     on the Leased Premises unless the consent of the City Manager or his designee is hi st obtained.
     Such consent shall not be unreasonably withheld, and the giving of such consent shall not be a
     waiver of any rights to object to further or future alterations.

                           C.    Provisions Govenuini

                            Following the completion of the Project, as required by Article 9 above, m
     the event that (and in each case that) Lessee shall construct any additional or replacement
     buildings, structures or other improvements (including alterations or additions to the existing
     buildings) on the Leased Premises, Lessee shall Construct sucli improvements and each of them
     in accordance with the provisions of this Lease governing the construction contemplated by
     Lessee; provided, however, that:

                                 (1)     The completion date set-forth in Paragraph 9(D) shall not apply to
    such construction; and

                                 (2)    The other provisions of Article 9 shall apply to such construction.

                           D.    Demolition

                            Except for any demolition, reconstruction and construction as permitted by
    Article 9, in case any building or structure is demolished. Lessee shall restore the land to City's
    reasonable satisfaction and in the same condition as existed upon commencement of the Original
    Lease, free of all Lessee Contamination, within twelve (12) months following such demolition or
    such longer time ns may be reasonably necessary to remediate any Lessee Contamination.
    Failure of Lessee to comply with the provisions of this Paragraph 12(D) shall constitute a default
    of this Lease. This provision shall expressly survive the expiration or earlier termination of the
    term of this Lease.

                           J£.   Value and Utility

                         All changes anti alterations shall be of such a character that when
    completed, the value and utility of the building, structure or other improvement changed or
    altered by such changes or alterations shall not be less than the value and utility thereof
    immediately before any such change or alteration.

                           F.    Alterations Following Commenccmenl

                      All work done in connection with any changes or alterations following the
    commencement thereof shall be performed in a good and workmanlike manner and with due
    diligence.




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                    13.   MAINTENANCE

                          A.   Lessee Maintain

                             Lessee, at its own expense, shall maintain said Leased Premises and all
      buildings, structures, roadways, landscaping, parking, sewer and other improvements thereon
      (collectively, the “Improvements”), and shall keep the same in good and sanitary condition and
      repair, with the understanding that the structures currently on the Leased Premises have aged and
      are not in new condition and Lessee is under no obligation to upgrade any buildings or structures
      except as may be required by Applicable Laws or as provided in Article 9 above.

                          B.   Periodic - Structures and Pavement

                            As often as necessary to properly maintain their appearance. Lessee shall,
     at its own expense, (I) paint or clean or otherwise preserve and beautify the surfaces of the
     exterior of all Improvements located on said Leased Premises and (2) repair or replace any area
     of pavement or slabs on the Leased Premises as have spalled, weathered, alligatored, or
     otherwise failed, with like materials and workmanship, and shall as often as necessary promptly
     repair or replace any damaged areas thereof. The treatment(s) applied shall restore the
     appearance of and act as a preservative of the building, structures, structural members, pavement,
     slabs, and other improvements located on the Leased Premises.

                          C.   Landscapm«;

                            Lessee, at its own expense, shall maintain the landscaping on the Leased
     Premises in an attractive manner, all in compliance with the approved Plans.

                          D.   Self-Help

                            If Lessee fails or refuses to commence and diligently prosecute to
     completion the repair and maintain the Leased Premises as required by this Section 13 within
     sixty (60) days of receipt of written notice from City, then City may enter the Leased Premises
     and make such repairs or perform such maintenance without liability to Lessee for any loss or
     damage that may accrue to Lessee, Lessee's property, or to Lessee’s business by reason thereof.
     Ail reasonable sums disbursed, deposited or incurred by City in connection will: such repairs or
     maintenance, plus ten percent (10%) for overhead, shall be due and payable by Lessee to City, as
     an item of Additional Rent, within ten (10) days of Lessee's receipt of an invoice and supporting
     documentation for such sum from City.




                   14.    SURRENDER

                          A.   Structures

                            At the expiration of the Term of this Lease or upon the sooner termination
     thereof, this Lease shall terminate without further notice and Lessee shall surrender said Leased
     Premises to the City and all Improvements thereon, including but not by way of limitation, any



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     alterations, additions or improvements, shall remain for the benefit of the City (exclusive of
     Lessee's trade fixtures, equipment and personal property). Any lidding over by Lessee after
     expiration shall not constitute a renewal or extension or give Lessee any rights in or to the
     Leased Premises except as otherwise expressly provided in this Lease.

                     B,     Removal

                          No buildings, structures or other improvements shall be removed from
    said Leased Premises (exclusive of Lessee's trade fixtures, equipment and personal property) or
    voluntarily destroyed or damaged during the Term of this Lease without the prior written consent
    of the City Manager.

                     C.     Movable Structures

                           Machines, trade fixtures and similar installations which are installed in
    any building, structure or other improvement on the Leased Premises shall not be deemed to be
    part of the realty even though such installations are attached to the floors, walls or roofs of any
    building or structure or to outside pavements, so long as such installation can be removed
    without structural damage to any building, structure or other improvement on the Leased
    Premises.

                     D.     Personal Property

                           Any and all personal property of every kind and nature whatsoever, which
    Lessee or its sublessees places in, upon or about the Leased Premises during the Term hereof (or
    during the term of the Original Lease) may be removed therefrom prior to the expiration of the
    Term of this Lease and shall, as between the City and Lessee, be and remain the personal
    property of Lessee or its sublessees, as the case may be, provided that any such personal property
    left on the Leased Premises upon surrender to the City shall be presumed to be abandoned by
    Lessee.

                     E-   Lighting. Etc.

                            Notwithstanding anything to the contrary contained in Paragraphs 14(C)
    or 14(D) above, any and all lighting, plumbing, air cooling, air conditioning, heating and
    ventilating equipment (except for such items that are used in connection with Lessee’s
    equipment) shall be deemed to be a part of the realty, and regardless of whether or not any such
    item or equipment can be removed without structural damage to the building, structure or
    improvement in which it is installed, it shall not be removed from such building, structure or
    other improvement except for repairs, alterations and replacement with newer equipment,
    without the consent of the City Council, and all such equipment shall remain as a part of the
    realty at the expiration of the Term of this Lease.

                     F    Removal at Expiration

                            Notwithstanding the above provisions of this Article 14. the City may give
    notice of its election, not less than one (1) year prior to the expiration of the Term of this Lease
    (including during any Option Period), to require, upon expiration of this Lease, tire removal of



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    any or all Improvements located on the Leased Premises and the restoration of the land to City’s
    reasonable satisfaction and to the same condition as existed upon commencement of the Original
    Lease, free of all Lessee Contamination, in which event the Lessee shall remove such
    Improvements and restore the Leased Premises within 120 days following the expiration of the
    Term of this Lease. Such period shall not constitute an extension or renewal of this Lease.

               ! 5.   SUBORDINATION

                      A.   Quitclaim Deed

                           Lessee acknowledges that it has received a copy of the Quitclaim Deed
    executed by the United States of America, dated March 5, 1948, Exhibit “D” attached hereto and
    made a part hereof (recorded on May 13, 1948 in Book 27145, Page 362 of Official Records),
    upon which the City holds title to said Leased Premises and Lessee agrees to comply with the
    provisions thereof as amended to the date of this Lease. This Lease shall be subordinate to such
    provisions as amended and to any further agreements between the City and the United States of
    America required by such provisions as amended, and Lessee agrees to execute such additional
    instruments or agreement as may be required by City or the United States to confirm or
    effectuate such subordination.

                      B.   FAA Provisions

                          Lessee acknowledges its acceptance of and its agreement to comply with
    the Federal Aviation Administration (“FAA”) provisions shown on Exhibit “Lv attached hereto
    and made a part hereof (the “FAA Provisions”).

                      C.   Chanues in FAA Requirements

                          Lessee shall, at it sole cost and expense, be responsible for (and shall not
    be entitled to receive any reduction of rent for any changes to) changes to the requirements
    promulgated by the FAA or any other governmental entity regulating the Torrance Municipal
    Airport relating to the construction and operation of the Leased Premises (the “FAA
    Requirements”) and the City shall not be obligated to (lie Lessee in any manner with respect to
    changes in the FAA Requirements.

               16.    AVICATION EASEMENTS

                      A.   Interference with Navigation

                           Lessee agrees that:

                            (1)     It will not erect or permit the erection or growth of any building,
    structure, tree or other object on said Leased Premises above any elevation above mean sea level
    as shown on Exhibit “E” (175 feet at the northerly boundary and 250 feet in the center); and

                        (2)    It will not use said Leased Premises or permit said Leased
    Premises to be used in any manner which might interfere with the landing or taking off of




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     aircraft from the airport, or which otherwise constitutes an air navigation obstruction, or which
     creates an interference; and

                           (3)    3t will not light or operate, or cause to be lighted or operated, any
     equipment which would interfere with the navigation, landing or takeoff of aircraft on the
     runways and in the aeronautical areas of the airport.

                       B.     Avigation Easements

                              (1)   The City reserves the following easements from the leasehold
     estate created hereby:

                                     (a)    The right to take any action necessary to prevent the
    erection or growth of any building, structure, tree or other object into the air space above those
    elevations shown on Exhibit “E” attached hereto, and to remove from such air space, or mark
    and light as obstructions to air navigation, any and all buildings, structures, trees or other objects
    that may at any time project or extend above the elevations shown on Exhibit "E1' together with
    the right of ingress to, egress from, and passage over the said Leased Premises for such purposes;

                                 (b)    The right to enter onto the said Leased Premises for the
     purpose of causing the abatement of any interference with the landing and taking off of aircraft
     from said airport; and

                                    (c)   A right of flight for the passage of aircraft in the air space
    above the surface of the said Leased Premises, together with the right to cause in said air space
    such noise as may be inherent in the operation of aircraft, now known or hereafter used for
    navigation of, or flight in tlie air, using said air space or landing at, or taking off from, or
    operating at, or on said airport.

                         (2)    “Aircraft” ns used in this Paragraph includes aircraft now or
    hereafter developed which utilize the airport or such air space whether similar or dissimilar to
    existing aircraft.

                            (3)     “Interference” as used in this Paragraph includes without limitation
    any interference with radar, any electrical or other interference with radio or other
    communication between airport and aircraft, or any use of activity which makes it difficult for
    pilots to distinguish between airport and other lights, creates glare or otherwise impairs visibility
    or which otherwise endangers the landing, taking off or maneuvering of aircraft or the safety of
    those using the airport, or is hazardous thereto.

                          (4)     In the event that the City exercises any of ns rights pursuant to the
    above provisions of Article 16, the City shall not be liable to the Lessee for any damage suffered
    as a result thereof and the Lessee shall reimburse the City for all reasonable and necessary
    expenses incurred by the City therefor.




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               ] 1.   TAXES. ASSESSMENTS AND UTILITY CHARGES

                      A.    Net Lease

                           It is the intention of City and Lessee that al! costs, expenses and
    obligations of every kind relating to the use, operation or occupancy of the Leased Premises
    which may arise or become due during the term of this Lease shall be paid by Lessee (other than
    costs incurred by City in negotiating the terms and provision of this Lease and any amendments
    [hereto), and that City shall be indemnified by Lessee against such costs, expenses, and
    obligations. Accordingly, Lessee agrees to pay before delinquent every charge, lien or expense
    accruing or payable during the Term (including any Option Temr(s)) of this Lease in connection
    with the use or occupancy of said Leased Premises, including, but not by way of limitation, all
    taxes and assessments, insurance costs, operating costs, water, electricity, gas, telephone, utilities
    and all other costs for services used by Lessee, its sublessees, licensees and concessionaires on
    said Leased Premises.

                      B.   Payment of Taxes

                           Lessee agrees to pay at least ten (10) days prior to delinquency all taxes
    which shall be levied against the Leased Premises and the Improvements thereon, and against
    any buildings, structures or any improvements hereafter erected or constructed on the Leased
    Premises, and which become a lien against said Leased Premises and the improvements. Lessee
    shall provide proof of its payment of such taxes prior to any such taxes becoming delinquent.
    Furthermore, in accordance with California Revenue & Taxation Code £ 107.0, Tenant hereby
    acknowledges that the possessory interest granted herein may be a taxable interest and. Tenant's
    obligations with respect to the payment of any and all costs associated with Tenant’s use of the
    Leased Premises shall include, without limitation, the obligation to pay any such possessory
    interest tax.

                      C.   Payment of Assessments

                          Lessee, at Lessee’s sole cost and expense, agrees to pay before delinquent
   any and all assessment, tax, fee, levy or charge in addition to, or in partial or total substitution of
   any assessment, tax, fee, levy or charge levied against the Leased Premises or against any
   buildings, structures or any improvements erected or constructed by the Lessee on the Leased
   Premises made for maintenance purposes, such as (without limitation) lighting, water lines,
   sewer (wastewater facilities), fences or other utilities {even if said assessments or charges are for
   items that would otherwise be characterized as "‘capital improvements’’). Tenant and City
   acknowledge that Proposition 13 was adopted by the people of the State of California in June.
    1978 and that assessments, taxes, fees, levies and charges may be imposed for such services as
   five protection, street, sidewalk and road maintenance, refuse removal and for other
   governmental services formerly provided without charge to property owners or occupants. It is
   the intention of Lessee and City that all such new and increased assessments, taxes, fees, levies
   and charges and all similar assessments, taxes, fees, levies and charges he included within the
   definition of assessments for the purposes of tins Lease. With respect to any taxes or
   assessments (such as community facilities districts and/or Mello-Roos taxes) that may be paid,
   without becoming delinquent and/or inclining penalty, over more than a one (1) year period,



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    Lessee may pay such taxes or assessments over the longest available period and shall have no
    obligation to pay installments relating to time periods after the expiration or earlier termination
    of this Lease.

                    D.      Valuation: Possessory Interest Tax

                            Lessee understands that, under the law now in effect, the Leased Premises
    will be valued by the City’s Tax Assessor for the purpose of assessing and levying real property
    (possessory interest) taxes by adhering to the formula contained in the case of De Luz Homes.
    Inc, v. Countv of San Diego. 45 Cal. 2d 546, 290 P.2d 544 (1955). Lessee agrees that if at any
    time during the Term or Option Temi(s) of this Lease the law is changed so as to require that
    said assessor value the interest of Lessee in the Leased Premises in a manner oilier than that
    being used by said assessor on the date of execution of this Lease as first above written, then the
    Lessee shall be responsible for any and all amounts due and owing for said real property
    (possessory interest) taxes.

                    E.     Sale of Fee Interest

                           In the event the City sells or transfers all or any portion of the Leased
    Premises and such sale or transfer results in an increase in the applicable real property taxes upon
    reappraisal of the Leased Premises, the Lessee shall be obligated to pay such tax and any and all
    taxes, assessments, liens, charges and other similar matters applicable to the Leased Premises
    prior to such reappraisal and/or applicable to the Leased Premises pursuant (o normal increases
    following such reappraisal shall remain the sole responsibility of Lessee.

                    F.     Sales Tax Permit

                         If applicable, Lessee agrees that it will require all sublessees approved by
    City hereunder to have obtained a California'State Sales and Use Tax Permit for the portion of
    the Leased Premises utilized by such sublessee before doing business thereon.

                   G.      Contests

                           Lessee shall have the right, at the Lessee's sole cost and expense, to
    contest the amount or legality of any taxes, assessments or utility charges which it is obligated to
    pay, and make application for the reduction thereof, or of any assessments upon which the same-
    may be based, provided that Lessee first posts a bond with the City in an amount equal to the
    amount of such taxes, assessments or charges contested with interest and penalties, or by paying
    the amounts contested under protest. Lessee agrees that it will prosecute any such contest or
    application with due diligence and will within thirty (30) days after an adverse final
    determination thereof pay the amount of any such taxes, assessments or charges which may have
    been the subject of such contest or application as so determined, together with any interest,
    penalties, costs and charges which may be payable in connect ion therewith.

                   H.      Ad Valorem Taxes

                           If, during the Term, federal or state taxes shall be imposed, assessed or
    levied on the fee interest of City in the Leased Premises, or on or with respect to any real or



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     personal property constituting a portion of the fee interest of City in the Leased Premises, or on
     the rents derived by City from the Leased Premises in lieu of or m addition to such real or
     personal property taxes, and such new tax would most fairly be characterized as in the nature of
     an ad valorem or use tax, as opposed to an income or franchise tax on City’s income. Lessee
     shall pay all such taxes, assessments, levies or charges imposed upon City within thirty (30) days
     of demand therefor by City.

                         1.   Additional Rent

                           In addition to Rent, all taxes, charges, and sums payable by Lessee under
    this Paragraph 17 are acknowledged and agreed by Lessee to constitute Additional Rent under
    this Lease, whether or not such charges and sums be designated as such. City shall have the same
    rights and remedies upon Lessee’s failure to pay Additional Rents or any portion thereof, as for
    the nonpayment of Rent.

                  IS.    LIABILITY

                         A.   Lessee's hidemnilicntion

                             Lessee has accepted the condition of the Leased Premises, and the
     Remediation Easement, and the Watennain Easement (as such terms are defined on Exhibit "A”)
    and hereby releases the City from and agrees to indemnify and hold the City (with “City” being
    defined for purposes of this Paragraph as including City, City’s Mayor, City's City Council, and
    its members. City’s boards and commissions and their respective members, and City’s officers,
    employees and agents) free and harmless from and, at City’s request, defend City against, any
    and all liabilities and claims for damages, losses, costs and expenses (including defense costs and
    reasonable attorneys’ fees) relating to or arising from breach of contract, any injury or death to
    any persons, including, but not limited to, Lessee and its employees and agents, or damage to or
    loss of use of property of any kind whatsoever and to whomsoever belonging, including, but not
    limited to, property of Lessee, from any and all cause or causes whatsoever (except City’s
    negligence or willful conduct), which occurs on or about, or is in any way connected with, the
    Leased Premises, the Improvements, any buildings or other improvements subsequently
    constructed on the Leased Premises, the Remediation Easement and the Watermain Easement (as
    such terms are defined on Exhibit “A”) during the term of this Lease, or results or arises from the
    activities conducted by Lessee or its officers, employees, agents, contractors, subcontractors, and
    sublessees.

                           With respect to damage or injury resulting from the condition of the
    Leased Premises, the Remediation Easement Area, the Watennain Easement Area, or from the
    Lessee’s or Lessee's employees’ or invitees’ activities upon the Leased Premises, the
    Remediation Easement Area, and/or the Watennain Easement Area, and without limiting the
    generality of the foregoing, Lessee hereby agrees that City shall not be liable for any injury to
    Lessee’s business or any loss of income therefrom or for the damage to the goods, wares,
    merchandise, improvements, or other property of Lessee. Lessee's offices, agents, employees,
    invitees, customers, or any other person in or about the Leased Premises, the Remediation
    Easement Area, the Watermain Easement Area, nor shall City be liable for injury or death to the
    person of Lessee, any sublessee, or any of their respective officers, employees, agents or



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     contractors, whether such damages or injury is caused by any cause whatsoever (except as a
     result of City’s negligence or willful conduct), and whether the same damage nr injury results
     from conditions arising upon the Leased Premises, the Remediation Easement Area, or the
     Watermain Easement Area, or from the Lessee’s activities upon the Leased Premises, the
     Remediatmn Easement Area, or the Watermain Easement Area.

                            It is the intention of City and Lessee that City he released from and
     indemnified, held harmless and (at City’s option) defended against any and all injuries (including
     death) to persons and damage to property described in this Paragraph to the fullest extent
     permitted by law. If at any time during the term of this Lease, the right of City to be so released,
     indemnified, held harmless or (at its option) defended shall be enlarged or reduced by reason of
     the application of any law or legal standard. City’s rights under this Paragraph shall be ipso facto
     enlarged or reduced to conform to such requirements such that City shall at all times during the
     term hereof be released form and indemnified, held haimless from and (at its option) defended
     against those matters to the fullest extent permitted under then applicable law.

                           Lessee’s obligation to indemnify, defend and hold harmless under this
     Lease will apply even in the event of concunent negligence on part of City; provided, however,
     that nothing in this Paragraph will excuse City of its responsibility for liability arising from
     City’s negligence or willful misconduct.

                            Notwithstanding any other provision of this Lease. Lessee’s
     indemnification as set forth in the provisions of this Section shall survive the expiration or earlier
     termination of this Lease and shall continue in perpetuity.

                           B.   Hazardous Materials; Lessee Contamination: Indemnity and Release

                            Lessee shall be fully responsible, at Lessee’s sole cost and expense, for
    any and all Lessee Contamination. Lessee, at Lessee’s sole cost and expense, shall promptly
    take all investigatory and/or remedial action- required or ordered by any and all governmental
    authorities for the clean-up of any Lessee Contamination. From and after the Effective Dale,
    Lessee shall neither (nor allow its permittees to) bring onto, create or dispose of, in or about the
    Leased Premises, any Hazardous Materials in violation of, nor engage in any activities in or
    about the Leased Premises that violate, any Environmental Laws (as hereinafter defined). If
    Lessee knows, or has reasonable cause to believe, that Hazardous Materials, or a condition
    involving or resulting from the same, has come to be located in, on, under or about die Leased
    Premises, Lessee shall immediately give written notice of such fact to City, and as required by
    law, to all appropriate governmental agencies. Lessee shall also immediately give City a copy of
    any statement, report, notice, registration, application, permit, business plan, license, claim,
    action or proceeding given to, or received from any governmental agency or private party, or
    persons entering or occupying the Leased Premises, which concerns or in any way relates to the
    existence, presence, spill, release, discharge of, or exposure to any Hazardous Materials or any
    other contamination in, on, or about the Leased Premises.

                          Lessee understands and agrees that in the event Lessee incurs any loss or
    liability concerning Hazardous Materials not within the provision of the first paragraph of this
    Section 18(B), whether attributable to events occurring prior to or following the Effective Date,



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     then Lessee shall look solely to such person(s) or entity(ies) as are responsible for the existence
     of the Hazardous Materials, but in no event shall Lessee look to City (City being defined for the
     purposes of this paragraph as City, City’s Mayor, City’s City Council and its members. City’s
     boards and commissions and their respective members, and City’s officers, employees and
     agents) for any liability or indemnification regarding Hazardous Materials. Lessee hereby
     waives, releases, remises, acquits and forever discharges City of and from any and all
     Environmental Claims, Environmental Cleanup Liability and Environmental Compliance Costs,
     as those terms are defined below, and from any and all actions, suits, legal or administrative
     orders or proceedings, demands, actual damages, punitive damages, loss, costs, liabilities and
     expenses, which concern or in any way relate to the physical or environmental conditions of the
     Leased Premises, the existence of any Hazardous Material thereon, or the release or threatened
     release of Hazardous Materials therefrom, whether existing prior to, at or after the Effective
     Date, It is the intention of the parties pursuant to this release that any and all responsibilities and
     obligations of City, and any and all rights, claims, rights of action, causes of action, demands or
     legal rights of any kind of Lessee, its successors, assigns or any affiliated entity of Lessee arising
     by virtue of the physical or environmental condition of the Leased Premises, the existence of any
     Hazardous Materials thereon, or any release or threatened release of Hazardous Material
     therefrom, whether existing prior to, at or after the Effective Date, are by this release provision
     declared null and void and of no present or future force and effect as to the parties. UN
     CONNECTION THEREWITH, LESSEE EXPRESSLY AGREES TO WAIVE ANY AND
     ALL RIGHTS WHICH LESSEE MAY HAVE WITH RESPECT TO SUCH RELEASED
     CLAIMS UNDER SECTION 1542 OF THE CALIFORNIA CIVIL CODE WHICH
     PROVIDES AS FOLLOWS:

                        “A GENERAL RELEASE DOES NOT EXTEND TO
                        CLAIMS WHICH THE CREDITOR DOES NOT KNOW OR
                        SUSPECT TO EXIST IN HIS FAVOR AT THE TIME OF
                        EXECUTING THE RELEASE, WHICH IF KNOWN BY
                        HIM MUST HAVE MATERIALLY AFFECTED IHS
                        SETTLEMENT WITH THE DEBTOR.”

                        LESSEE’S INITIALS,

                        CITY’S INITIALS:     W6

                    Lessee shall defend, indemnify and hold harmless City, City and their officers,
    directors, employees, agents and representatives (collectively, the “Indemnified Parties") from
    and against any and all Lessee Contamination, Environmental Claims, Environmental Cleanup
    Liability, Environmental Compliance Costs, and any other claims, actions, suits, legal or
    administrative orders or proceedings, demands or other liabilities (collectively, “Claims")
    resulting at any time from the physical and/or environmental conditions of the Leased Premises
    whether before or after the Effective Date or from the existence of any Lessee Contamination
    and/or other Hazardous Materials or the release or threatened release of any Lessee
    Contamination and/or other Hazardous Materials of any kind whatsoever, in, on or under the
    Leased Premises and/or the Adjoining Premises or any other affected surrounding premises,
    including, but not limited to, all foreseeable and unforeseeable damages, fees, costs, losses and
    expenses, including any and all attorneys’ fees and environmental consultant fees and


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     investigation costs and expenses, directly or indirectly arising therefrom, and including fines and
     penalties of any nature whatsoever, assessed, levied or asserted against any Indemnified Parties
     to the extent that the fines and/or penalties are the result of a violation or an alleged violation of
     any Environmental Law.

                       For purposes of this section, the following terms shall have the following
     meanings:

                                     (a)     “Environmental Claim*’ means any claim for personal
     injury, death and/or property damage made, asserted or prosecuted by or on behalf of any third
     party, including, without limitation, any governmental entity, relating to the Leased Premises or
     its operations and arising or alleged to arise under any Environmental Law.

                                  (b)    “Environmental Cleanup Liability” means any cost or
    expense of any nature whatsoever incurred to contain, remove, remedy, clean up, or abate any
    contamination or any Hazardous Materials on or under all or any part of the Leased Premises,
    including the ground water thereunder, including, without limitation, (A) any direct costs or
    expenses for investigation, study, assessment, legal representation, cost recovery by
    governmental agencies, or ongoing monitoring in connection therewith and (B) any cost,
    expense, loss or damage incurred with respect to the Leased Premises or its operation as a result
    of actions or measures necessary to implement or effectuate any such containment, removal,
    remediation, treatment, cleanup or abatement.

                                  (c)     “Environmental Compliance Cost’* means any cost or
    expense of any nature whatsoever necessary to enable the Leased Premises to comply with all
    applicable Environmental Laws in effect. “Environmental Compliance Cost” shall include all
    costs necessary to demonstrate that the Leased Premises is capable of such compliance.

                                    (d)     “Environmental Law” means any federal, state or local
    statute, ordinance, rule, regulation, order, consent decree, judgment or common-law doctrine,
    and provisions and conditions of permits, licenses and other operating authorizations relating to
    (A) pollution or protection of the environment, including natural resources, (B) exposure of
    persons, including employees, to Hazardous Materials or other products, raw materials,
    chemicals or other substances, (C) protection of the public health or welfare from the effects of
    by-products, wastes, emissions, discharges or releases of chemical sub-stances from industrial or
    commercial activities, or (D) regulation of the manufacture, use or introduction into commerce
    of chemical substances, including, without limitation, their manufacture, formulation, labeling,
    distribution, transportation, handling, storage and disposal.

                                    (e)   “Hazardous MaterinF is defined to include any hazardous
    or toxic substance, material or waste which is or becomes regulated by any local governmental
    authority, the State of California, or the United States Government. The term “Hazardous
    Materiaf includes, without limitation, any material or substance which is: (A) petroleum or oil
    or gas or any direct or derivate product or byproduct thereof; (B) defined ns a “hazardous waste,”
    “extremely hazardous waste” or “restricted hazardous waste” under Sections 25] 15. 25117 or
    25122.7, or listed pursuant to Section 25140, of the California Health and Safety Code, Division
    20. Chapter 6.5 (Hazardous Waste Control Law); (C) defined as a “hazardous substance” under




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     Section 2531C of the California Health and Safety Code, Division 20, Chapter 6.8 (Cnrpcnter-
     Presley-Tanner Hazardous Substance Account Act); (D) defined as a ‘'hazardous material,”
     “hazardous substance,” or “hazardous waste” under Sections 25501(j) and (k) and 25501.1 of the
     California Health and Safety Code, Division 20, Chapter 6.95 (Hazardous Materials Release
     Response Plans and inventory); (E) defined as a “hazardous substance” under Section 25281 of
     the California Health and Safety Code, Division 20, Chapter 6.7 (Underground Storage of
     Hazardous Substances); (F) “used oil” as defined under Section 25250.1 of the California Health
     and Safety Code; (G) asbestos; (H) listed under Chapter 11 of Division 4.5 of Title 22 of the
     California Code of Regulations, or defined as hazardous or extremely hazardous pursuant to
     Chapter 10 of Division 4.5 of Title 22 of the California Code of Regulations; (1) defined as waste
     or a hazardous substance pursuant to the Porter-Cologne Act, Section 13050 of the California
     Water Code: (J) designated ns a “toxic pollutant” pursuant to the Federal Water Pollution Control
     Act, 33 U.S.C, § 1317; (K) defined as a “hazardous waste” pursuant to the Federal Resource
     Conservation and Recovery Act, 42 U.S.C. § 6901 et seep (42 U.S.C. § 6903); (L) defined as a
     “hazardous substance” pursuant to the Comprehensive Environmental Response, Compensation
     and Liability Act, 42 U.S.C. § 9601 et seq, (42 U.S.C. § 9601); (M) defined as “Hazardous
     Material” pursuant to the Hazardous Materials Transportation Act, 49 U.S.C. § 5101 ct seep; or
     (N) defined as such or regulated by any “Superfund” or “Superlien” law. or any other federal,
     state or local law, statute, ordinance, code, rule, regulation, order or decree regulating, relating
     to, or imposing liability or standards of conduct concerning Hazardous Materials and/or
     underground storage tanks, as now, or at any time here-after, in effect.

                           Notwithstanding any other provision of this I.ease, Lessee’s release and
    indemnification as set forth in the provisions of this Section, as well as all provisions of this
    Section shall survive the termination of this Lease and shall continue in perpetuity.

               19.   INSURANCE

                     A.     Liability

                             (1)   Lessee agrees that at all times during the Term of this Lease and
    any renewal or extension thereof, it will maintain in full force and effect at Lessee's expense a
    comprehensive (commercial) general liability insurance with the broad form comprehensive
    liability endorsement and automobile liability insurance policy which will insure and indemnify
    the Lessee and the City, the City Council and each member thereof, and every officer and
    employee of the City against liability or financial loss resulting from any suits, claims, or actions
    brought by any person or persons and from all costs and expenses of litigation brought against
    the City in the amount of $10,000,000 combined single limit for any injury to persons and/or
    damages to property (i) in or about said Leased Premises and any Improvements constructed
    thereon, the Remediation Easement Area, and the Watermnin Easement Area, or (ii) by reason of
    the use and occupation by Lessee or by any other person or persons of said Leased Premises, the
    Remediation Easement Area, and the Watermain Easement Area. 'Hie City, the City Council,
    and every officer and employee of the City, acting in due course of his employment or his
    official capacity, shall be named as an additional insured on said policy.

                           (2)     It is understood that the type of insurance and minimum limits of
    liability insurance required herein may become inadequate for such purposes during the Term of



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     this Lease, and Lessee agrees that it will add such insurance coverage and increase such
     minimum limits at its sole expense by such amounts as may be reasonably required by the City.
     In the event that the Lessee objects to such increase on the grounds that it is unreasonable and the
     dispute-cannot be resolved by the parties, the issue shall be decided by arbitration in accordance
     with the rules of the American Arbitration Association.

                         B.   Property Damatze

                           (1)    Lessee agrees that at all times during the Term of this Lease and
    any renewal or extension thereof, it will maintain in full force and effect at Lessee's expense an
    insurance policy which will insure and indemnify the Lessee and the City from loss occurring to
    Improvements (excluding grading and fill but including foundations) located on the Leased
    Premises, by reason of fire, extended coverage perils, and “all risk” perils, including but not by
    way of limitation flood, demolition, and increased cost of construction and contingent liability
    arising out of the operation of building codes. If required by any “Leasehold Mortgagee” (ns
    hereinafter defined), such property damage insurance shall also cover loss resulting from
    earthquake, but only to the extent required by such Leasehold Mortgagee. During the period
    from the dates of this Lease until the completion of the Project contemplated under Paragraph 9
    herein, and thereafter during any subsequent period of construction as contemplated under
    Paragraph 12 herein, such insurance shall include builder’s risk insurance in so-called non­
    reporting form covering the total cost of work performed and equipment, supplies and materials
    furnished.

                           (2)   The amount of such insurance shall be at least eighty percent
    (80%) of the full replacement cost of the Improvements located on the Leased Premises with an
    agreed amount endorsement. The City shall be named as an additional insured on said policy,
    including earthquake coverage, if required.

                         C.   Rent Insurance

                           (1)     Lessee agrees that at all times during the Term of this Lease and
    any renewal or extension thereof, it will maintain in full force and effect at Lessee's expense a
    business interruption and/or rent or rental value insurance policy with endorsements and
    coverage equivalent to the fire, extended coverage and “all risk” perils policies described in
    Paragraph 19(B) above, in an amount not less than twelve (12) months Rent, plus the estimated
    annual cost of taxes and the annual premiums for such policy.

                           (2)     All business interruption and/or rent or rental value insurance
    policies provided for herein shall name the City and Lessee as insureds as their respective
    interest may appear, but shall be deposited with the City. Such business interruption and/or rent
    or rental value insurance policies shall provide for payment or loss to the City to the extent of
    Lessee's obligations hereunder, and the difference between such payment and the amount of
    insurance collected shall be payable to Lessee. Any business interruption and/or rent or rental
    value insurance proceeds received by the City shall be applied against Lessee's rental obligations
    hereunder.




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                         D,    Carrier Rating and Cancellation

                            All policies enumerated in this Paragraph 19 shall be issued by an insurer
     admitted to do business in California, which qualifies as a member of the California Insurance
     Guaranty Fund, and which is rated in Best’s Insurance Guide with a financial rating of A:XIl or
     better, or as may be accepted in writing by the City Manager. Said policies shall provide that the
     insurance coverage shall not be cancelled or reduced by the insurance carrier without the City
     having been given sixty (60) days prior written notice thereof by such carrier. Lessee agrees that
     it will not cancel or reduce said insurance coverage and will replace any insurance cancelled,
     reduced or non-renewed by the insurance company during the Term of this Lease.

                         E.    Copy of Policy

                         At all times during the Term of this Lease, Lessee shall maintain on file
    with the City Clerk of the City a certified copy of each insurance policy, and any and all
    amendments thereto, required to be maintained by Lessee pursuant to this Lease.

                        F.     Failure to Provide

                          Lessee agrees that if it does not keep the aforesaid insurance in full force
    and effect, the City may, after thirty (30) days notice to Lessee, obtain the necessary insurance
    and pay the premium thereon, and the repayment thereof shall be deemed to be Additional Rent
    and payable as such on the next day after notice of the payment by the City for the said
    insurance.

                        G.    Lessee’s Insurance Primary

                         The insurance provided in the policies of insurance required hereunder to
    be maintained by Lessee shall be primary and non-contributing with any insurance that may be
    carried by the City.

                        H.    Subrogation

                            Lessee agrees to waive its right of subrogation against the City. Any
    insurance policies procured by Lessee hereunder shall provide that, to the extent that insurance is
    provided, the insurance earner waives all rights of subrogation against the City and all of
    1 .essee’s subtenants and other occupants of the Leased Premises.

                        I.    Cross Liability Endorsement

                           It is agreed that claims for persona! injury or property damage made by an
    insured hereunder against another insured hereunder shall be covered in the same manner as if
    separate policies had been issued to each Insured. Nothing contained herein shall operate to
    increase the insurance company’s limit of liability as provided under such policy.




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                 20.   CASUALTY: INSURANCE PROCEEDS

                       A.   Statement of Costs

                            In the event of the partial or total destruction of any of the Improvements
     located on the Leased Premises where the cost of repair or replacement exceeds Ten Thousand
     Dollars ($10,000), as established jointly by Lessee and the Director of Building and Safety of the
     City, Lessee shall promptly fumisli-the City with:

                            (1)     A statement of the original cost of the damaged structures (if
     available); and

                            (2)    An itemized statement setting forth the estimated cost of
     reconstruction thereof or repairs thereto, prepared by a California licensed architect or engineer.

                       B.   Duty to Repair - Where Insurance

                            (1)    During the first five Lease Years, in the event of the partial or total
    destruction of any of the Improvements located on the Leased Premises by any cause which is by
    the terms of this Lease required to be insured against (including any partial destruction where the
    cost of repair is less than Ten Thousand Dollars ($10,000)), Lessee shall repair or rebuild the
    affected Improvements to the condition existing prior to the occurrence of such destruction or
    damage, and shall do so even though the proceeds of the insurance policies covering the loss
    shall be insufficient to reimburse Lessee thereof; provided, however, that if such proceeds of
    insurance are more than sufficient to pay the cost of any such rebuilding. Lessee shall be
    entitled-to receive any surplus.

                            (2)     At any time after the expiration of the fifth Lease Year, in the
    event of the partial or total destruction of any of the Improvements located on the Leased
    Premises by any cause which is by the terms of this Lease required to be insured against, Lessee
    may elect to either (a) repair or rebuild the affected Improvements to the condition existing prior
    to the occurrence of such destruction or damage, or (b) demolish those buildings, structures and
    improvements designated by the City as requiring demolition, restore the land to City’s
    reasonable satisfaction and in the same condition as existed upon commencement of the Original
    Lease, free of all Lessee Contamination; provided, however, notwithstanding Lessee’s election
    under the immediately preceding subsection (b), this Lease shall continue in full force and effect
    and such election shall not release Lessee of its obligations hereunder.

                           (3)    Any insurance proceeds exceeding Fifty Thousand Dollars
    ($50,000) shall be payable to an insurance trustee, acceptable to both parlies, who shall disburse
    the funds for construction purposes as construction progresses and with such safeguards as said
    trustee may deem to be desirable to assure that workmen and materialmen arc paid and that no
    mechanics liens may be recorded. If the Approved Leasehold Mortgagee, as defined in
    Paragraph 22(B) of this Lease, agrees to disburse such proceeds for restoration as aforesaid, such
    Approved Leasehold Mortgagee shall be acceptable to the City as the insurance trustee for
    purposes of this provision.




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                         c.   Duty to Repair - Where No Insurance

                            (1)      In the event of the partial or total destruction of any of the
     buildings, structures or other improvements on the Leased Premises by any cause which is by the
     terms of this Lease not required to be insured-against, then:

                                   (a)    If the cost to repair or restore such buildings, structures or
     other improvements is reasonably estimated to be less than ten percent (10%) of the value of
     same immediately prior to such damage or destruction, then Lessee shall proceed to repair and
     replace the same at its own expense; or

                                   (b)     If the cost to restore or repair such damage or destruction is
    reasonably estimated to exceed ten percent (10%) of the replacement value of such buildings,
    structures or other improvements immediately prior to such damage. Lessee may elect to
    demolish those buildings, structures and improvements designated by the City as requiring
    demolition, restore the land to City’s reasonable satisfaction and in the same condition as existed
    upon commencement of the Original Lease, free of ail Lessee Contamination and terminate this
    Lease by notifying the City in writing of its intent to do so within thirty (30) days of the event
    causing such damage or destruction.

                            (2)      If Lessee shall elect to terminate this Lease as provided for above,
    it shall have no further obligation for rental or oilier payments hereunder from and after the date
    that such demolition and restoration are completed, and from and after the date that- such
    demolition and restoration are completed, neither Lessee nor any Leasehold Mortgagee shall
    have any right, title, interest, lien or encumbrance in, to or upon the Leased Premises or any of
    the Improvements located thereon.

                         D.   Duty to Repair - Last Year of Lease Term

                             In the event of the partial or total destruction of any of the Improvements
    located on the Leased Premises by any cause, whether insured or uninsured, during the last year
    of the Term of this Lease, the Lessee may terminate this Lease by notifying the City in writing of
    its intent to do so within thirty (30) days of the event causing such destruction. If the Lessee
    shall elect to cancel this Lease pursuant to this Paragraph, it shall have no duty to repair, replace,
    or restore the affected buildings, structures or other improvements to the condition existing prior
    to the occurrence of such destruction or damage and (except for obligations 'that expressly
    survive the expiration or earlier termination of the Lease) all liabilities of either party to the other
    party which would have accrued under this Lease from and after such dale shall be cancelled;
    provided, however, that each party shall remain liable to the other party for any and all
    obligations and duties which arise or accrue under this Lease prior to such termination date.

                         E.   Repair Work

                          Any reconstruct ton and repair work provided to be performed by Lessee
    hereunder shall be commenced and continued to completion promptly and diligently. Such
    reconstruction and repair work shall be performed, insofar as reasonably possible, in compliance
    with and pursuant to the original Plans and in compliance with the provisions of Paragraph 12oi



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     herein. The City may require a payment bond from Lessee to assure the removal or bonding of
     any liens.

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                            In the event of destruction or damage, whether total or partial, to the
     Improvements on the Leased Premises, the Rent and Additional Rent provided for hereunder
     shall not be abated by reason of the occurrence of any such destruction or damage as long as (he
     Term of this Lease continues and remains in existence and is not cancelled in accordance with
     Paragraph 20(C), but any amounts paid to the City from any rent insurance maintained pursuant
     to Paragraph 19(C) or otherwise, shall offset the Rent payable hereunder.

                    2L     ASSIGNMENT AND SUBLETTING

                           A.    Consent

                             (1)   Lessee shall not sublet all or any part of the Leased Premises, or
     assign this Lease or any interest herein or in the Leased Premises (collectively, a ‘Transfer”),
     without first obtaining the written consent of the City Council, which consent shall not be
     unreasonably withheld. Notwithstanding the provisions of this Section 23, in (lie event that the
    proposed assignee or sublessee is an Affiliate (as hereinafter defined) of Lessee, the City Council
    will not withhold its consent to such an Affiliate proposed assignee or sublessee if the proposed
    assignee or sublessee provides evidence to City establishing that such proposed assignee or
    sublessee (i) has a net worth (calculated in accordance with generally accepted accounting
    principles) of at least Five Million Dollars (S5,000,000) as of the date of such proposed
    assignment, (ii)has at least five (5) years experience in the operation and management of
    comparable or larger projects with uses consistent with the uses permitted hereunder, or will
    enter into a management contract for the Leased Premises with a manager having such
    experience for such minimum period who will actively manage the Leased Premises, (iii)has
    satisfied all conditions provided in Paragraph 21(B) of this Lease, and (iv) does not have a
    reputation which would embarrass the City or disparage its reputation - e g., a reputation for
    connections with or control by criminal elements, past criminal violations or prosecutions, or a
    reputation for disreputable practices. As used herein, an “Affiliate” of Lessee shall mean any
    corporation or other entity that is directly controlled by LIST Aerospace (the “Parent”). As used
    herein, “controlled by” shall mean that more than 50% of the outstanding partnership,
    membership, capital stock or other beneficial ownership interests of the Affiliate is/arc owned by
    the Parent and the Parent possesses the power to direct or cause the direction of the management
    and policies of the Affiliate.

                            (2)     In addition to the circumstances identified in Section 21(A)(1)
    above, the term “Transfer” shall also include the circumstances hereinafter set forth, and any of
    the following shall be deemed “Transfer'’ that is prohibited hereby unless the written consent of
    die City be first obtained thereto:

                                    (a)    If Lessee is a partnership, limited liability company, or
    joint venture, a withdrawal, addition or change (voluntary, involuntary, by operation of law.
    directly or indirectly, or otherwise) of any, of the partners, members, or venturers thereof; or



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                                 (b)     If Lessee is composed of more than one person, a purported
    assignment or transfer (voluntary or involuntary, by operation of law, directly or indirectly, or
    otherwise) from one to any other or others thereof; or

                                    (c)    If Lessee is a corporation, a cumulative change in the
    ownership (voluntary, involuntary, by operation of law, directly or indirectly or otherwise) of
    thirty-three and one-third percent (33-1/3%) or more of its capital stock owned as of the date of
    its acquisition of this Lease; provided, however, that any such transfer as a result of the death or
   judicially declared incompetency of any such person may be made without the consent of the
    City so long as such transfer is to the immediate family, or to a trust for the benefit of the
    immediate family, of such deceased or incompetent person.

                                  Lessee shall give the City prompt written notice of any such
   change in the ownership interests in Lessee whether or not the consent of the City is required
   therefor. The provisions of this Paragraph 21 [except for the notice provisions hereof] shall not
   be applicable to any Approved Leasehold Mortgagee (as defined below) that is a corporation, the
   stock of which is publicly traded on a recognized stock exchange.

                         (3)     Without limiting the City’s right of refusal to consent to any
   Transfer, the City’s refusal to consent to any Transfer shall be considered reasonable if the
   Lessee cannot demonstrate to the reasonable satisfaction of the City that such proposed Transfer
   would not result in a partial assignment or a de facto division of the Lessee’s rights or duties
   hereunder. It is the City’s intention that this Lease be held as an entirety by the Lessee and it
   may not be divided.

                          (4)     City’s granting.consent to any assignment or sublease hereunder
   (a) shall not be a waiver of any right to object to further or future assignments or subleases and
   the consent to each successive assignment or sublease must he first obtained in writing from the
   City Council, and (b) shall not release Lessee of its obligations hereunder and Lessee shall
   remain fully liable for the performance of all of the covenants to be performed by Lessee under
   this Lease,

                          Vesting

                         As a condition to the vesting of any rights in this Lease or in the leasehold
   estate created hereby in any City-approved assignee or sublessee of the Lessee's interest
   hereunder, whether voluntary or involuntary, each such proposed assignee or sublessee shall first
   have delivered to the City Clerk of the City a written notice of such proposed assignment or
   sublease, which notice:

                        (1)    Shall contain a statement that the proposed assignee or sublessee
   agrees to be bound by all the terms, covenants and conditions of this Lease which are to be
   performed by Lessee;

                          (2)    Shall state the name and address of the proposed assignee or
   sublessee for the purpose of enabling notices to be given under Paragraph 27 herein; and




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                           (3)    Shall state whether the proposed assignee or sublessee is an
    individual, a corporation or a partnership; and if such assignee or sublessee is a corporation, the
    names of such corporation’s principal offices and directors, its state of incorporation, the amount
    of capital stock authorized and the amount of capital stock outstanding at the time of the
    assignment, the number of shareholders and the names and address of every shareholder who
    directly or indirectly owns or controls five percent (5%) of more of such stock (stating the
    number of such shares); and if such assignee or sublessee is a partnership, the names and
    addresses of the members of such partnership. The provisions of this Paragraph 21(B)(3) shall
    not apply to any assignee of an Approved Leasehold Mortgagee (as defined below), the stock of
    which assignee is publicly traded on a recognized stock exchange.

                        C.    Voidability

                           Any Transfer that has been made in violation of or which is not in full
    compliance with the provisions of this Paragraph 21 shall be voidable by the City and shall
    constitute a material default under this Lease.

                        D.    Non-Disturbance and Attornment Am eemcnts

                         Upon the Lessee’s written request, the City shall enter into a non­
   disturbance and attornment agreement with the Lessee’s sublessee(s) 031 the City's form of
   agreement.

                 22.    ENCUMBRANCES

                        A.    Right to Encumber

                          During the Term of this Lease and any exlcnsioii or renewal thereof.
   Lessee may assign for security purposes only or may encumber Lessee’s leasehold interest under
   this Lease and the leasehold estate created hereby (a “Leasehold Mortgage'') in favor of an
   institutional lender (herein sometimes referred to as the “Leasehold Mortgagee'’) and in that
   connection may perform any and all acts and execute any and all instruments necessary or proper
   to consummate any loan transaction and perfect the security therefor to be given the Leasehold
   Mortgagee; provided, however, that:

                         (1)      Any such Leasehold Mortgage must constitute a first lien on
   Lessee's leasehold estate; and

                           (2)     Such Leasehold Mortgage shall be an assignment or encumbrance
   only of the Lessee’s leasehold interest under this Lease and the leasehold estate created hereby
   and shall not convey or be a lien upon the City’s fee estate in the Leased Premises or the City’s
   reversionary interest in all buildings and improvements located oji the Leased Premises.

                        13.   Leasehold Mortvumee Defined

                         The term “Leasehold Mortgagee” as used in this Paragraph 22 and
   elsewhere in this Lease shall mean the mortgagee under any mortgage, or the trustee and
   beneficiary under any deed of trust or indenture of mortgage and deed of trust encumbering the


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     leasehold estate or Lessee’s interest therein (including the assignee or successor of any such
     mortgagee, beneficiary or trustee and the holder of any promissory note or bond secured
     thereby), and executed by Lessee and delivered for the purpose of securing to such mortgagee,
     trustee or beneficiary payment of any indebtedness incurred by Lessee and secured by such
     mortgage, deed of trust or indenture of mortgage and deed of trust. The terms “Approved
     Leasehold Mortgagee” and “Approved Leasehold Mortgage” shall mean a Leasehold Mortgagee
     and a Leasehold Mortgage, respectively, complying with the requirements of Paragraph 22(A)
     above.

                          C\   Agreements Regarding Leasehold Mortgagees

                            (1)     Notices to Leasehold Mortgagee.          So long ns an Approved
    Leasehold Mortgagee notifies the City in writing of its Approved Leasehold Mortgagee status
    and provides City with an address for delivery of notices, copies of all notices given or
    documents delivered by the City to Lessee under the terms of this Lease, including without
    limitation notices of Lessee's default under this Lease, shall be concurrently served by the City
    on the Approved Leasehold Mortgagee by United States mail, postage prepaid, registered or
    certified mail, return receipt requested, at the address last provided to the City in writing by such
    Approved Leasehold Mortgagee. No notice given by the City under this Lease shall be effective
    unless served as provided in this Section.

                            (2)   Approved       Leasehold       Morluanee’s    Riuhts     to     Cure.
    Notwithstanding any provision to the contrary set forth in this Lease, the City shall not terminate
    this Lease because of any default by Lessee or on the basis of any other event or circumstance
    which gives the City the right to terminate this Lease if the Approved Leasehold Mortgagee,
    within twenty (20) days after its receipt of notice from the City of a default by the Lessee under
    this Lease in the case of a default which can be cured by the payment of money required to be
    paid by Lessee under the terms of this Lease, or within thirty (30) days after its receipt of such
    notice in the case of a nonmonetary default, shall at its election either:

                                   (a)    Cure such default within such twenty (20) days, if the
    default can be cured by the payment of money required to be paid by Lessee under the terms of
    this Lease or, if the default cannot be cured in such a manner, commence to cure die default
    within such thirty (30) day period and thereafter diligently proceed to complete the cure, or

                                  (b)    (i) Institute a trustee’s sale or judicial foreclosure
    proceedings under the Approved Leasehold Mortgage and thereafter diligently proceed to
    complete such proceedings; (ii) cure such default within such twenty (20) days if the default can
    be cured by the payment of money required to be paid by Lessee under the terms of this Lease;
    (in) comply with all of the terms and conditions of tins Lease requiring the payment or
    expenditure of money by Lessee (including but not limited to Paragraph 17 of this Lease) until
    such time (the “Foreclosure Date”) as this Lease has been sold by trustee's sale, judicial
    foreclosure or transfer in lieu of foreclosure or reconveyed under the Approved Leasehold
    Mortgage; and (iv) commence to cure all non-monetary defaults within thirty (30) days
    following the Foreclosure Date and thereafter diligently proceed to complete the cure; provided,
    however, that if the Approved Leasehold Mortgagee fails to comply with any one of the




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     conditions set forth in Paragraph 22(C)(2)(a) or 22(C)(2)(b), then the City shall be released from
     the covenant of forbearance contained in this subsection.

                            (3)    Prosecution of Foreclosure. The Approved Leasehold Mortgagee
    shall be deemed to be diligently proceeding to complete a trustee's sale or judicial foreclosure
    notwithstanding the fact that such proceedings or the commencement of such proceedings arc
    stayed by statute, rule, court order, bankruptcy stay, or other similar enactment or action,
    provided that, (a) such Approved Leasehold Mortgagee is at all times during such stay in
    compliance with the provisions of Paragraphs 22(C)(2)(b)(ii) and 22(C)(2)(b)(iii) hereof, and
    (b) such trustee’s sale or judicial foreclosure is completed within twenty-four (24) months
    following the institution of such proceedings; provided that, such twenty four (24) month period
    shall be extended if the Approved Leasehold Mortgagee is unable to complete such proceedings
    within such twenty-four (24) month period so long as the Approved Leasehold Mortgagee is at
    all times diligently prosecuting such proceedings to conclusion.

                              (4)    New Lease. If this Lease terminates because of a default by
     Lessee or any other event or circumstance which entitles the City to terminate this Lease
     (including, but not limited to, rejection of the Lease in a bankruptcy proceeding), the City shall
     provide the Approved Leasehold Mortgagee with written notice of such termination. If within
     thirty (30) days after receiving notice of such termination, the Approved Leasehold Mortgagee
     by written notice to the City requests that the City enter into a new lease for the Leased Premises,
     then the City shall enter into a new lease for the Leased Premises with the Approved Leasehold
     Mortgagee within thirty (30) days after the Approved Leasehold Mortgagee’s request, provided
     that the Approved Leasehold Mortgagee has delivered to the City at the time of such request the
     Approved Leasehold Mortgagee’s written agreement to cure Lessee’s defaults under this Lease,
     and provided further that if Lessee has defaulted under Article 9 of this Lease, the Approved
     Leasehold Mortgagee shall have entered into a written agreement with City pursuant to which
     such Approved Leasehold Mortgagee has agreed to perform the remaining obligations of Lessee
     under said Article 9 in a manner and within a time period satisfactory to City, or obtained the
     agreement of a third party satisfactory to City to so perform such obligations. The new lease
    shall commence, and rent and all obligations of the Approved Leasehold Mortgagee shall begin
    to accrue, as of the date of termination of this Lease. The term of the new lease shall be for the
    period which would have constituted the remainder of the Term of this Lease had this Lease not
    been terminated, and the new lease shall be upon all of the other terms and conditions of this
    Lease, as modified by all amendments, if any, entered into by City and Lessee. The new lease
    shall be free of all rights of Lessee. Lessee shall provide in all subleases pertaining to the Leased
    Premises that each subtenant of the Leased Premises shall, at the Approved Leasehold
    Mortgagee’s option, attorn to the Approved Leasehold Mortgagee under the new lease, and the
    Approved Leasehold Mortgagee agrees to accept such an attornment, provided the subtenant is
    not in default under its sublease at the time of such attornment. Prior to or upon execution of the
    new lease, the Approved Leasehold Mortgagee shall (a) pay to the City all Rent, Additional
    Rent, and other amounts owing to the City by Lessee under this Lease as of the dale of
    termination of this Lease; (b) shall pay to the City all rent and other amounts due under the new
    lease from the date of commencement of the term of the new lease to the date of execution of the
    new lease; (c) shall pay to the City all reasonable costs and expenses incurred by the City m
    connection with the new lease; and (d) shall provide in a manner satisfactory to City for the cure
    of all nonmonetary defaults of Lessee under this Lease.



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                           (5)    Performance by Approved Leasehold Mortutmec. The Oily agrees
    to accept performance by the Approved Leasehold Mortgagee of Lessee's obligations under this
    Lease with the same force and effect as if performed by Lessee; provided, however, that the
    Approved Leasehold Mortgagee shall not become liable for the performance of Lessee’s
    obligations under this Lease unless and until the Approved Leasehold Mortgagee acquires title to
    the Lease, and provided further that, if the Approved Leasehold Mortgagee shall so acquire title
    to tliis Lease or any new Lease pursuant to Paragraph 22(C)(4) above, within sixty (60) days
    after such Approved Leasehold Mortgagee shall have so acquired title to this Lease or such new
    Lease, such Approved Leasehold Mortgagee shall have either (i) sold or otherwise transferred
    this Lease to a third party approved by City pursuant to Paragraph 21 of this Lease, which third
    party shall be financially capable and experienced in operating commercial retail shopping
    centers similar to the Leased Premises; or (ii) engaged the services of a management company
    reasonably acceptable to and approved in writing by the City which management company shall
    be experienced in operating commercial retail shopping centers similar to the Leased Premises
    and which management company shall actively operate and manage the Leased Premises until
    such time as such Approved Leasehold Mortgagee shall have sold or otherwise transferred this
    Lease to a third party as required in clause (i) of this sentence. An Approved Leasehold
    Mortgagee acquiring title to this Lease shall be liable for the performance of Lessee’s obligations
    under this Lease only for so long as the Approved Leasehold Mortgagee holds title to this Lease.
    The City agrees that an Approved Leasehold Mortgagee may enter on the Leased Premises to
    perform any curative act.

                           Notwithstanding the provisions of this Paragraph 22(C)(5) of the Lease,
    (i) an Approved Leasehold Mortgagee shall not become liable for the performance of obligations
    of Lessee under the Lease which, by their nature, cannot be perfonned without such Approved
    Leasehold Mortgagee having possession of the Leased Premises, unless and until the Approved
    Leasehold Mortgagee actually acquires possession of the Leased Premises (regardless of
    whether, prior to obtaining such possession, such Approved Leasehold Mortgagee has title to the
    Lease), provided that the Approved Leasehold Mortgagee is at all times diligently taking all
    action required in order to obtain possession of the Leased Premises at die earliest possible date
    and (ii) the approval of City required under Paragraphs 22(C){5)(i) and 2l(C)(5)(ii) of the Lease
    shall be deemed satisfied if the third party transferee or lire management company referred to
    therein meet the respective criteria for each set forth in Paragraph 22(C)(9) above.

                            (0)    No Merger.     Without the written consent of the Approved
    Leasehold Mortgagee, there shall be no merger of this Lease or of the leasehold estate created
    hereunder with the fee estate in the Leased Premises by reason of the fact that this Lease or the
    leasehold estate may be held directly or indirectly by or for the benefit of any person who owns
    the fee estate in the Leased Premises or any portion thereof.

                           (7)    No Voluntary Surrender. No voluntary surrender of this Lease by
    Lessee or amendment or mutual termination of this Lease shall be effective without the prior
    written consent of the A]>proved Leasehold Morlgagee.

                            (8)     Leasehold Foreclosure. The City’s consent shall not be required
    for a transfer of this Lease to the Approved Leasehold Mortgagee by trustee’s sale, judicial
    foreclosure or transfer in lieu of foreclosure.



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                             (9)   Approved Transfers fay an Approved Leasehold Mortgagee,
     Notwithstanding any provision to the contrary contained in the Lease, including, without
     limitation. Paragraph 21 of the Lease, in the event that an Approved Leasehold Mortgagee
     acquires title to the Leased Premises by way of foreclosure, deed in lieu of foreclosure, or other
     exercise of remedies provided under its Approved Leasehold Mortgage, such Approved
     Leasehold Mortgagee shall thereafter have the right, with the consent of the City Council, to
     assign the Lease to a purchaser /assignee who proposes to assume each and all of the obligations
     of the Lessee under the Lease. The City Council will not withhold its consent to such a proposed
     transferee if the Approved Leasehold Mortgagee and the proposed transferor provide evidence to
     City establishing that such proposed transferee (i) has a net worth (calculated in accordance with
     generally accepted accounting principles) of at least Five Million Dollars ($5,000,000) as of the
     date of such proposed assignment, (ii) has at least five (5) years experience in the operation and
     management of comparable or larger properties, or will enter into a management contract for the
     Leased Premises with a manager having such experience for such minimum period who will
     actively manage the Leased Premises, {hi) has satisfied all conditions provided in Paragraph
     21(B) of the Lease (except regarding shareholders owning or controlling five percent (5%) or
     more of the stock of a publicly held corporation), and (iv) does not have a reputation which
     would embarrass the City or disparage its reputation - e.g., a reputation for connections with or
     control by criminal elements, past criminal violations or prosecutions, or n reputation for
     disreputable practices.

                            (10) Cure of a Prohibited Junior Leasehold Mortua»e. City agrees tlial
     if Lessee violates the prohibition in the Lease on creation of any junior Leasehold Mortgage,
     City shall give written notice to the Approved Leasehold Mortgagee. If the Approved Leasehold
     Mortgagee, within thirty (30) days after receipt of such notice either (i) pays and discharges the
    junior Leasehold Mortgagee in its entirety, or (ii) commences foreclosure proceedings, or
    exercises a power of sale, under a trust deed or mortgage held by the Approved Mortgagee, and
    thereafter diligently prosecutes such proceedings or sale to conclusion, either of such actions
    shall constitute a “cure” of such default by Lessee entitling the Approved Leasehold Mortgagee
    to obtain the new lease provided for in Paragraph 21(C)(4) of the Lease. Nothing contained
    herein shall alter the prohibition against creation of junior Leasehold Mortgages by the Lessee
    nor be construed as City’s consent thereto.

                   23.   BREACH OR DEFAULT

                         A.   Evcnl of Default

                         Any of the following shall constitute an event of default ("Event of
    Default”) by Lessee under this Lease:

                            (1)    Failure of Lessee to pay when due the Rent, the Additional Rent or
    any oilier sums payable by Lessee under this Lease, where such failure continues for ten (10)
    days after written notice thereof from the City that such payment is due; or

                            (2)    The complete abandonment of the Leased Premises for ten (10)
    days after written notice thereof from the City; or




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                           (3)     The failure of Lessee to perform any oilier obligation hereunder
    which shall not be remedied to the satisfaction of City within thirty (30) days after written notice
    from the City specifying such failure to perform (or, if such failure cannot reasonably be
    remedied by Lessee within thirty (30) days, if Lessee shall not have commenced appropriate
    action to effect such remedy within said thirty (30) day period and thereafter prosecuted such
    action to completion with all due diligence); or

                           (4)     Except as otherwise provided by paramount law, the entry of any
   decree or order for relief by any court with respect to Lessee in any involuntary case under the
   Federal Bankruptcy Code or any other applicable federal or state law; or the appointment of or
   taking possession by any receiver, liquidator, assignee, trustee, sequestrator or other similar
   official, of the Leased Premises or of Lessee or of any substantial part of the property of Lessee
   or the ordering or winding up or liquidating of the affairs of Lessee and the continuance of such
   decree or order unstayed and in effect for a period of sixty (60) days; or the commencement by
   Lessee of a voluntary proceeding under the Federal Bankruptcy Code or any other applicable
   state or federal law or consent by Lessee to the entry of an order for relief in an involuntary case
   under any such law, or consent by Lessee to appointment of or taking of possession by n
   receiver, liquidator, assignee, trustee, sequestrator or other similar official, of Lessee or of any
   substantia! part of the property of Lessee or the making by Lessee of any general assignment for
   the benefit of creditors; or the failure of Lessee to operate its business for ten (10) business days
   when such failure is due to any financial difficulty experienced by either of the foregoing; or
   Lessee taking any other voluntary action related to the dissolution of Lessee or the winding up of
   Lessee’s affairs.

                      B.   City's Remedies

                           (1)     If an Event of Default by Lessee shall occur and be continuing as
   aforesaid, then in addition to any other remedies available to the City at law or in equity, the City
   shall have the immediate option to terminate this Lease, and bring suit against Lessee or submit
   the issue of Lessee’s default to arbitration and recover as an award in such suit or arbitration
   proceeding the following:

                               (a)    The worth at the time of award of the unpaid rent and all
   other sums due hereunder which had been earned at the time of termination;

                                 (b)    The worth at the time of award of the amount by which the
   unpaid rent and ail other sums due hereunder which would have been earned after termination
   until the time of award exceeds the amount of such rental loss that the Lessee proves could have
   been reasonably avoided;

                                 (c)    The worth at the time of award of the amount by which the
   unpaid rent and all other sums due hereunder for the balance of the Term after the time of award
   exceeds the amount of such rental loss that the Lessee proves could be reasonably avoided;

                                (d)     Any other amount necessary to compensate the City for all
   the detriment proximately caused by the Lessee’s failure to perform its obligations under this
   Lease or which in the ordinary course of things could be likely to result therefrom; and




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                                  (e)   Such amounts in addition to or in hen of the foregoing as
     may be permitted from time to time by applicable California law.

                            (2)     The “worth at the time of award” of the amounts referred to in
     Paragraphs 23(B)(1)(a) and 23(B)(1)(b) above shall be computed by allowing interest at the
     lesser of one and one-half percent (1-1/2%) per month or the maximum allowable rate under
     applicable law on the date of the award. The “worth at the time of award" of the amount referred
     to in Paragraph 23(B)(1)(c) is computed by discounting such amount at the discount rate of the
     Federal Reserve Bank of San Francisco at the time of award plus one percent (1%).

                             (3)    If an Event of Default shall occur, and the City shall choose not to
     exercise the option to tenninate this Lease as provided herein, this Lease shall continue in full
     force and effect for so long as the City chooses not to tenninate Lessee's right to possession, and
     the City may enforce all its rights and remedies under this Lease, including the right to recover
     rent as it becomes due.

                            (4)     For the purpose of this Paragraph 23(B). the following shall not
     constitute a termination of the Lessee’s right to possession:

                                  (a)           Acts of maintenance or preservation or effort to relet all or
     any part of the Leased Premises; or

                                    (b)      The appointment of a receiver upon initiative of the City to
     protect the City’s interest under this Lease,

                            (5)    The City may, at any time after Lessee commits a default under
    this Lease, remedy such default at Lessee’s expense. If the City at any time, by reason of
    Lessee’s default, pays any sum or does any act that requires the payment of any sum, the sum
    paid by the City shall be due immediately from Lessee to the City at the time the sum is paid,
    and if paid at a later date shall bear interest at the lesser of the rate of one and one-half percent
    (1-1/2%) per month from the date the sum is paid by the City until the City is reimbursed by
    Lessee or the maximum rate allowed by law. The sum, together with interest on it, shall be
    Additional Rent.

                             C.   Receipt of Rent Not Waiver of Default

                              The receipt by the City of Rent, Additional Rent or any other charges due
    to the City, with knowledge of any breach of this Lease by Lessee or of any default on the part of
    Lessee in the observance or performance of any of the conditions or covenants of this Lease,
    shall not be deemed to be a waiver of any provisions of this Lease. No acceptance by the City of
    a lesser sum than the Rent, Additional Rent, or any other charges then due shall be deemed to be
    other than on account of the earliest installment of the Rent, Additional Rent or other charges
    due, nor shall any endorsement or statement on any check or any letter accompanying any check
    or payment as the Rent, Additional Rent or charges due be deemed an accord and satisfaction,
    and the City may accept such check or payment without prejudice to the City’s right to recover
    the balance of such installment or pursue any other remedy provided in this Lease. No failure on
    tire part of tire City to enforce any covenant or provision herein contained, nor any waiver of any
    right hereunder by the City shall discharge or invalidate such covenant or provision or affect the


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     right of the City to enforce the same in the event of any subsequent breach or default, unless
     expressly agreed to by the City Manager in writing. The receipt by the City of any of the Rent.
     Additional Rent or any other sum of money or any other consideration paid by Lessee after the
     termination in any manner of the Term, or after notice by City of such termination, shall not
     reinstate, continue, or extend the Term hereof, or destroy, or in any manner impair the efficacy of
     any such notice of termination as may have been given hereunder by the City to Lessee prior to
     the receipt of any such sum of money or other consideration, unless so agreed to in writing and
     signed by the City Manager, Neither acceptance of the keys nor any other act or thing done by
     the City or by its agents or employees during the Term shall be deemed to be an acceptance of a
     surrender of the Leased Premises, excepting only an agreement in writing signed by the City
     Manager accepting or agreeing to accept such a surrender.

                  24.    COMPLIANCE WITH LAW

                    Lessee agrees to comply with, and to cause all sublessees, licensees and
     concessionaires to comply with, all statutes, ordinances, rules, laws or regulations of any
     governmental agency (including, without limitation, those of the City of Torrance) which are
     applicable to said Leased Premises or the operation of Lessee or such sublessees on the Leased
     Premises (collectively, the ‘'Applicable Laws”).

                  25.    CITY’S RIGHT OF ACCESS

                         A.    City’s Access to Leased Premises

                    During normal business hours, the City and the City’s officers, employees and
    agents shall have the right to enter upon the Leased Premises or any Improvements located
    thereon for the purpose of inspecting the same and posting notices of non-responsibility or any
    other notices the City may reasonably deem necessary or desirable.

                         13.   Lessee’s Access to Airport Runways

                   Lessee shall have no right of access for aircraft, vehicles or people to the runways,
    taxiways or other property or facilities on the Torrance Municipal Airport.

                 26.     QUIET ENJOYMENT

                   Except as provided otherwise herein, the City covenants that Lessee, upon paying
    the Rent expressly reserved in this Lease and observing and keeping the terms, covenants, and
    conditions of this Lease on its part to be kept and performed, shall lawfully and quietly hold,
    occupy and enjoy the Leased Premises during the Term of this Lease.

                 27.     NOTICES

                  All notices, demands, or other communications under this Lease will be in
    writing. Notice will be sufficiently given for all purposes as follows:

                   A.      Personal delivery. When personally delivered to the recipient: notice is
    effective on delivery.



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                     B.      First Class mail. When mailed first class to the Iasi address of the
      recipient known to the party giving notice: notice is effective three mail delivery days after
      deposit in a United States Postal Service office or mailbox.

                       C.     Certified mail. When mailed certified mail, return receipt requested:
      notice is effective on receipt, if delivery is confirmed by a return receipt.

                    D.      Overnight delivery. When delivered by an overnight delivery service,
      charges prepaid or charged to the sender’s account: notice is effective on delivery, if delivery is
      confirmed by the delivery service.

                     E.      Facsimile transmission. When sent by fax to the last fax number of the
      recipient known to the party giving notice: notice is effective on receipt. Any notice given by
      fax will be deemed received on the next business day if it is received after 5:00 p,m. (recipient’s
      time) or on a non-business day.

                  Addresses for purposes of giving notice are as follows:


      LESSEE:                           Hi-Shear Corporation
                                         Attn: Mary Hanley or Chief Financial Officer
                                         2600 Skypark Drive
                                         Torrance, California 90509

                                         with a copy to:

                                         James D. Robinson
                                         Kelly Lytton & Vann, LLP
                                         ! 900 Avenue of the Stars, Suite 1450
                                         Los Angeles, California 90067

     CITY:                              City of Torrance
                                        3031 Torrance Boulevard
                                        Torrance, California 90509-2970
                                        Attention: City Manager
                                        Copy To: City Attorney

             Any correctly addressed notice that is refused, unclaimed, or undeliverable because of an
     act or omission of the party to be notified, will be deemed effective as of the first date the notice
     was refused, unclaimed or deemed undeliverable by the postal authorities, messenger or
     overnight delivery service.

            Either party may change its notice information by giving the other party notice of the
     change in any matter permitted by this Agreement.




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                 28.    AMENDMENTS AND MQDIFJCAT10NS

                    This Lease shall not be amended or modified in any way, and no purported
     amendment or modification shall be effective, unless same has been (i) approved by the City
     Council and set forth in a written instrument, expressly purporting to amend this Lease, executed
     by the City Manager or the Mayor for the City; (ii) executed by Lessee; and (iii) approved in
     writing by any Approved Leasehold Mortgagee.

                 29.    APPROVALS BY CITY: CITY ACTING IN ITS PROPRIETARY CAPACITY.

                    No consent, approval or satisfaction of the City provided for hereunder, and no
    waiver by the City of any provisions hereof, shall be effective unless given in writing specifically
    referring to this Lease and executed by the City Manager or the Mayor for the City; no such
    consent, approval, satisfaction or waiver under or with respect to this Lease shall be inferred or
    implied from any other act or omission of the City or any agent or employee thereof. Unless
    otherwise expressly provided therein, no approval, consent or other action taken by the City
    under or pursuant to this Lease shall be deemed to waive any other rights or authority of the City
    in any capacity other than as the lessor under this Lease.

                    Although City is a city of the State of California having regulatory powers, the
     execution of this Agreement and the lease of the Leased. Premised as contemplated by this
     Agreement is undertaken by the City in its proprietary capacity and not in its regulatory capacity.
     Lessee agrees that City retains all of its regulatory powers and the development contemplated is
    subject to the applicable laws and regulations of City and other governmental agencies having
    jurisdiction. Nothing contained in this Lease shall in any way restrict or diminish the rights,
    powers or jurisdiction of the City, its City Council, Planning Commission and other agencies
    with respect to the governance of the Leased Premises and all buildings, improvements, business
    and activities located on or conducted thereon. Lessee acknowledges that it will have to apply
    for land use entitlements and building permits and to comply with applicable laws and
    ordinances in order to implement the development of the Project, This Agreement docs not and
    the Lease will not constitute any agreement, promise or assurance by City to grant such land use
    entitlements or issue building permits, or that City is obligated to obtain the agreement or
    assurance from such agencies that such agencies will do so, nor is City obligated to amend tiny of
    its laws or regulations regarding land use entitlements or building permits, or to grant any
    entitlements or building permits.

                30.     CONDEMNATION

                        A.   Award

                          In the event that all or any part of the Leased Premises or any buildings or
    improvements thereon shall, during the Term of this Lease, be taken or damaged by eminent
    domain, the total consideration paid in connection with such taking and damage (including both
    amounts paid for property taken and severance or other damage to the portion of the Leased
    Premises not taken) shall be paid and applied in the following order of priority:

                          (1)     First, to reimburse the City for the reasonable costs. Joes and
    expenses incurred by the City in connection with the collection of such award.


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                           (2)    Second, but only if such taking does not result in the termination of
    this Lease as further provided in this Section, all remaining proceeds, if any, shall be paid to a
    trustee, reasonably acceptable to both the City and Lessee who shall disburse the funds for
    construction purposes as construction progresses to repair any and all damage to the Leased
    Premises or the buildings or improvements located thereon resulting from such taking, with such
    safeguards as said trustee may deem to be desirable to assure that workmen and materialmen are
    paid and that no mechanic’s liens may be recorded. If the Approved Leasehold Mortgagee, as
    defined in Paragraph 23(B) of this Lease, agrees to disburse such proceeds for restoration as
    aforesaid, such Approved Leasehold Mortgagee shall be acceptable to the City as the trustee for
    purposes of this provision.

                           (3)    Third, any excess proceeds held by the trustee following
    completion of the restoration and repair described in Paragraph 30(A) above or in the event this
    Lease is terminated pursuant to the provisions of this Section so that no reconstruction or repair
    is to be undertaken, the balance of such proceeds, if any, shall be paid and applied in the
    following order of priority:

                                  (a)     First, to the City to the extent of the fair market value of the
    land of the Leased Premises so taken (including the full amount of the award for severance
    damages to the land not so taken). The fair market value of the land so taken shall be the value
    which is established by the parties as a part of any litigation or arbitration in connection with
    such taking. In the event there is no such litigation or determination, the fair market value of the
    land so taken shall be determined by the procedure set forth in Paragraph 4(B) above.

                                (b)    Second, after any payment to the City required by
    Paragraph 30(A)(3) above, Lessee shall receive the remainder of such award, if any.

                           (4)    If any of Lessee’s trade fixtures or any of Lessee’s other personal
    property shall be so taken, and if a separate and distinct award is made in connection therewith,
    such separate and distinct award (including amounts paid for trade fixtures and personal property
    taken and severance or other damages to such of Lessee's trade fixtures and other personal
    property as shall not be taken) shall belong solely to Lessee. Lessee's right to such award shall,
    however, not diminish or detract in any way from any award or amount due to the City.

                    R.     Settlement of Chums

                         Lessee shall not settle or adjust any claim for damages resulting from a
   taking of the Leased Premises or any buildings or improvements thereon without the City's prior
   written consent, which consent shall be given if, and only if, the amount of such award shall be
   sufficient to pay the amounts to which the City is entitled pursuant to the provisions of this
   Section.

                    C,     Reconstruction and Repairs

                          If such taking does not result in the termination of this Lease as further
   provided in this Section, Lessee, whether or not damages, if any, on account of such be sufficient
   for such purposes, shall at its sole cost and expense, promptly commence and diligently complete
   the restoration of the Leased Premises and all buildings and improvements located thereon as


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    nearly as possible to their value, condition and character immediately prior to such taking, except
    only for any reduction in any areas caused or necessitated by such taking; provided, however,
    that if the total cost to restore the Leased Premises and all buildings and improvements located
    thereon remaining after said taking is reasonably estimated to exceed the portion of any award
    made available to Lessee for that purpose by fifteen percent (15%) of the replacement value of
    such building, structure or other improvement immediately prior to such damage. Lessee may
    elect to demolish same, restore the Leased Premises to a neat and clean condition to the
    reasonable satisfaction of the City and terminate this Lease by notifying the City in writing of its
    intent to do so within thirty (30) days of the event causing such damage or destruction. J f Lessee
    shall elect to cancel this Lease as provided for above, except with respect to obligations that
    expressly survive the expiration or earlier termination of this Lease, Lessee shall have no further
    obligation for rental or other payments hereunder from and after the date that such demolition
    and restoration are completed.

                       D.   Lease Termination

                           In the event all of the Leased Premises, or so much thereof and/or the
   buildings and improvements thereon are taken so that the use of the remainder, in the Lessee’s
    reasonable judgment, is economically unfeasible, the Term of this Lease shall terminate as of,
   and the City and, except with respect to obligations that expressly survive the expiration or
   earlier termination of this Lease, Lessee shall be released of all obligations under this Lease
   arising subsequent to, the date of such taking. If only a part of the Leased Premises are so taken,
   and this Lease is not terminated as a result thereof, this Lease shall remain in full force and effect
   as to the portion of the Leased Premises and the buildings and improvements thereon remaining
   except that the Rent, then applicable shall be reduced in that proportion or percentage which the
   fair market value of that portion of the land of the Leased Premises so taken bears to the total fair
   market value of the land of the Leased Premises immediately preceding such taking. Such total
   fair market value shall, for the purposes of this Paragraph, be determined in the manner set forth
   in Paragraph 4(B) above.

                       E.   Approved Leasehold Moriuauec Participation

                          The City agrees that an Approved Leasehold Mortgagee shall have the
   right to participate with the City and Lessee in any condemnation proceedings affecting the
   Leased Premises; provided that, the Approved Leasehold Mortgagee's rights shall be limited to
   enforcing its rights (if any) with respect to Lessee’s share (if any) of such condemnation
   proceeds and shall not apply to or affect City's share of any such condemnation proceeds.




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                      31.     GENERAL PROVISIONS

                              A.   Estoppel Certificates

                      The City and Lessee shall at any time and from time to time upon not less than
     thirty (30) days prior written request by the other, deliver to the requesting party an executed and
     acknowledged written statement certifying that (a) this Lease is unmodified and in fuJ! force and
     effect (or if this Lease lias been modified or if this Lease is not in full force or effect, stating the
     nature of the modification or the basis on which this Lease had been terminated, whichever is
     applicable); (b) to its knowledge, the requesting party is not in default under this Lease (or if any
     such default exists, stating the specific nature and extent of the default); and (c) the dates to
     which tire monthly rent and other monetary obligations under this Lease have been paid in
     advance. Each certificate delivered pursuant to this Section may be relied upon by any
     prospective purchaser or transferee of the City’s or Lessee’s respective interests in the Leased
     Premises, including without limitation any prospective Approved Leasehold Mortgagee.

                              B.   Remedies Cumulative

                           No remedy or election provided by any provisions in this Lease shall be
     deemed exclusive unless so indicated, but shall whenever possible be cumulative with all other
     remedies in law or equity except as otherwise herein specifically provided.

                              C.   Provisions as Covenants

                             Each provision hereof shall be deemed both a covenant and condition and
     all of the conditions and covenants contained herein shah be covenants running with the land and
     shall be construed as such.

                              D.   Time

                                   Time is of the essence of this Lease.

                              E.   Headings

                          'flic Paragraph headings in this Lease contained are for convenience ami
    reference only, and are not intended to and shall not define, govern, limit, modify or in any
    manner affect the scope, meaning, or intent of any provision in tins Lease contained.

                              F.   Successors in Interest

                           Except as otherwise herein provided, each and every of the terms,
    covenants and conditions of this Lease shall inure to the benefit of and shall bind, as the case
    may be, not only the parties hereto but each and every of the heirs, executors, administrators,
    successors, assigns and legal representatives of the parties hereto.




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                      G.    Waivers

                            The waiver by either Lessee or the City of any breach of any of the
    covenants, agreements, obligations, conditions or provisions of this Lease must be in writing and
    shall not be construed to be a waiver of such covenant, agreement, obligation, condition, term or
    provision upon any subsequent breach of the same or of any oilier covenant, agreement,
    obligation, condition, term or provision herein contained,

                      H.    Gender and Number

                          In this Lease, whenever the context so requires, the masculine gender
    includes die feminine and/or neuter, and die neuter gender includes the masculine and/or
    feminine, and the singular number includes the pi lira! and the plural includes the singular.

                      I.    Memorandum of Lease

                          A memorandum of this Lease, in recordable form, will be prepared,
    executed by both parties, and recorded in accordance with California Government Code Section
    37393.

                      J.   No Brokers

                             Lessee covenants and agrees that no commission or fees arc due and
    owing to any person or entity by reason of tlie execution of this Lease or the payment of rent
    hereunder, and Lessee shall indemnify and hold the City harmless from and against any demand,
    liability, claim or obligation for any such fees or commissions from any person or entity claiming
    to have.

                      K    Good Faith and Reasonability

                           In the event any provision under this Lease shall require or anticipate that
    either party hereto make a judgment, give consent or approval, or exercise discretion, that party
    agrees to do so reasonably and in good faith, with due diligence, communicated to the other party
    in writing except in those instances where a Lease provision specifically sets forth a different
    standard of approval, in which case the specific standard of that Lease provision shall govern.

                      L.   Incorporation of Exhibits

                          Exhibits ‘'A”, “B”, t:C'\ “D”, and “E”, each as attached to this Lease, arc
    incorporated herein and made a part hereof.

                      M.   Severability

                            If any provision of tins Lease is held by a court of competent jurisdiction
    to be invalid, void, or unenforceable, the remaining provisions will nevertheless continue in full
    force without being impaired or invalidated in any way.




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                       N.   Integration

                           This Lease incorporates all of the terms and conditions mentioned herein,
    or incidental hereto, and supersedes all negotiations and previous agreements between the parties
    with respect to all or part of the subject matter hereof. Any amendment or modification to this
    Lease must be in writing and executed by the appropriate authorities of Lessor and Lessee.

                       O.   Independent Review

                           Each party acknowledges and agrees that it has had the opportunity to
    thoroughly review the terms contained herein, to obtain the advice of independent legal counsel
    in connection therewith, and that this Lease is the product of negotiations between the parties.
    Consequently, the parties agree that in the event of any dispute arising out of this Lease, this
    instrument shall not be construed against one party, and in favor of another, based upon the fact
    that one party may have drafted this Lease, or a particular provision thereof.

                       P.   Governing Law

                            This Agreement is made under and shall be construed pursuant to the laws
    of the State of California. Any suit hereon or hereunder shall be brought only in a state or
    federal court sitting in the City of Los Angeles, State of California, and all parties hereto hereby
    agree that venue shall lie therein.

                       Q.   Attorneys' and Other Fees

                            All sums reasonably incurred by City in connection with an Event of
    Default or holding over of possession by Lessee after the expiration or termination of this Lease,
    including, but not limited to, all costs, expenses and actual accountants', appraisers', attorneys’
    and other professional fees, and any collection agency or other collection charges, shall be due
    and payable by Lessee to City on demand. In addition, in the event that any action shall be
    instituted by either of the parties hereto for the enforcement of any of its rights in and under this
    Lease, the party in whose favor judgment shall be rendered shall be entitled to recover from the
    other party all expenses reasonably incurred by the prevailing party in such action, including
    actual costs and reasonable attorneys' fees.




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          IN WITNESS WHEREOF, the parties hereto have executed this Lease the date and year
   Fust above written,

                                            “CITY’"




                                               City Mayor

   ATTEST:




   Sue Mergers, CMC
   City Clerk

   APPROVED AS TO FORM:
                                Attorney




                              [Signatures continued on next page]




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                             [Signatures continued from previous page]


                                      “LESSEE"

                                      Hl-SHEAR CORPORATION,
                                      a Delaware corporation




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     STATE OF CALIFORNIA                                )

     COUNTY OF                   Lo^ fiNGflJZi )

              On                 ,'2-QQbefore me,         /\. L. A/1/\ft//H / M        Notary Public,
     personally appeared              MARX-mUj^l
     pcj -sona 11 y_ JmewH-to-one (or proved to me on the basis of satisfactory evidence) to be the
     personas) whose name(a) is/are subscribed to the within instrument and acknowledged to me that
    -he/she/tbey executed the same in hrs/her/thetr-authorized capacity(4os>, and that by Ibs/hcr/tkeit^
     signature^)’ on the instrument the person^ or the entity upon behalf of winch the personal
     acted, executed the instniment.

                    Witness my hand and official seal.


                                                                Notary Public




     [SEAL]
                                 T            K L. MANAUU
                                          Commiwtoo# 1473523
                                          Nokxy Pubic - Calfofnta
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    STATE OF CALIFORNIA                                 )
                                                        ) ss.
    COUNTY OF L-OZ                     ANO^l^           )

            On Au&U$.T H / 'MjCl4 , before me,            jA- L- •             /L J y Notary Public,
    personally appeared                                                                        —- .
    personally known to me (er-proved to me oivrthe-basis-of^^ti^fe»ry-&v,Khjhce-) to be the
    person(s) whose name(s) 4s/are subscribed to the within instrument and acknowledged to me that
    he/she/they executed the same in-hta/her/their authorized capacity(ies), and that by hra/her/their
    signaturejs) on the instrument the person(s)'or the entity upon behalf of which the petson(s)
    acted, executed the instrument.

                  Witness my hand and official seal.


                                                                Notary Public

    [SEAL]
                           brf               A. L. MANAUU
                                        ConwnlMkxi # 1473523    1
                                        Notary Publfc - CaKtofnta
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                                              Ang*tei County
                           4          MyComm.Exptrei Mof 2,2006^

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     STATE OF CALIFOR

     COUNTY OF
            Xc,,                     , before me.                              Notafy Public,
     personal ly appeared___________ \                         V________
     personally known to me (or proved to me on the basis of satisfactory evidence) to be the
     person(s) whose name(s) is/are subscribed "to the within instrument andNjcknowledged to me that
     he/she/they executed the same in his/her/thetr^authorized capacity(ies), and that by his/her/their
     signatiire(s) on the instrument the person(s) ol\the entity upon behalf oUwhich the pevson(s)
     acted, executed the instrument.                   \                          \
                                                         \                          \
              Witness my hand and official seal.            \
                                                                                          \
                                                      Notary Public




     [SEAL]




     STATE OF CALIFORNIA

     COUNTY OF
                        \

             On                           before\ne.                                            .Public,
     personally appeared\______ ___________                                 \     ________________
     personally known to me (or proved to me onNhe basis of satisfactory evidence) to be\thc
     person(s) whose name(s) is/are subscribed to the within instrument and acknowledged to me that
     he/she/they executed the same in his/her/their authorized capacity!ies), and that by his/fier/tbeir
     signature(s) on the instrument the person(s) or the entity upon behalf of which the person(s)
     acted, executed the instrument.
                                                                                         \
                 Witness my hand and official seal.


                                                      Notary Public

     [SEAL]



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     STATE OF .CALIFORNIA
                                               \'
                                               ) ss.
                                                                              \
     COUNTY OF '                               )                                  \

                                                                                      \
            On                           before me,                                   Notiiry Public,
    personally appeared __________________________ \_____________________ [_____________ ,
    personally known to me (or proved to me on the basis of satisfactory evidence) to be the
    person(s) whose name(s) is/are subscribed to the within instrument and acknowledged to me that
    he/she/they executed the same in his/her/their authorized capacity(ies), and that by his/her/their
    signature(s) on the instrument the person(s) or the entity upon behalf of which the person(s)
    acted, executed the-instrument.

                  Witness my hand and ofiiciaJ seal                                                \

                                                       \

                                                       Notary Public




    [SEAL]




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                                                 EXHIBIT “A”

                            LEGAL DESCRIPTION OF THE LEASED PREMISES


             The real properly is located in the County of Los Angeles, State of California and is more
     particularly described as follows:

                That portion of Parcel 32 of Official Map No. 2 in the City Of Torrance, County
                of Los Angeles, State Of California, as Recorded in Book 5 pages 44-51 in the
                Office of Said County Recorder, Described as beginning at the Northeasterly
                comer of said Parcel 32, Thence Along Northerly Line of Parcel 32 North 62
                Degrees 26 Minutes 06 Seconds Said Northerly Line Also being the Southerly
                Line of Skypark Drive 861.69 Feel, Thence leaving the Northerly line of Parcel
                32 South 27 degrees 33 Minutes 44 Seconds West 422.25 feet, Thence South 6
                Degrees 21 Minutes 11 Seconds East 61.46, Thence South 51 Degrees 21 Minutes
                11 Seconds West 106.10 Feet, Thence South 38 Degrees 38 Minutes 49 Seconds
                West 180.61 Feet to a point on the Southerly line of Parcel 32, Thence along the
                Southerly line of Parcel 32 South 51 Degrees 21 Minutes 11 Seconds East 759.70
                Feet, Thence North 38 Degrees 38 Minutes 49 Seconds 65.00 Feet, Thence North
                27 Degrees 33 Minutes 54 Seconds East 753.32 Feet to the northeasterly corner of
                Parcel 32.

           TOGETHER WITH a nonexclusive easement (the ‘“Remediation Easement”) over,
    under, and across that certain real property located in the County of Los Angeles, State of
    California and is more particularly described as follows (the ‘'Remediation Easement Area”):

               That portion of Parcel 32 of Official Map No. 2 in the City Of Torrance, County
               of Los Angeles, Stale Of California, as Recorded in Book 5 pages 44-5! in the
               Office of Said County Recorder, Described as beginning at the Northwesterly
               comer of said Parcel 32, Thence South 62 Degrees 26 Minutes 06 Seconds East
               938.12 along the northerly line of Parcel 32, said northerly line also being the
               Southerly line of Skypark Drive, Thence leaving the Northerly line of Parcel 32
               South 27 degrees 33 Minutes 44 Seconds West 422.25 feet. Thence South 6
               Degrees 2! Minutes 11 Seconds East 61.46, Thence South 51 Degrees 21 Minutes
                11 Seconds West 106.10 Feet, Thence South 38 Degrees 38 Minutes 49 Seconds
               West 180.61 Feel to a point on the Southerly line of Parcel 32, Thence along the
               Southerly line of Parcel 32 North 51 Degrees 21 Minutes 11 Seconds West 162.50
               Feet, Thence Continuing along the Southerly line of Parcel 32 North 38 Degrees
               38 Minutes 49 Seconds East 65.00 feet, Thence Continuing along the Southerly
               line of Parcel 32 North 51 Degrees 21 Minutes 11 Seconds West 911.77 Feet to
               the Westerly Line of Parcel 32, Thence Along the Westerly Line of Parcel 32
               North 27 Degrees 33 Minutes 54 Seconds East 401.10 Feet to the North westerly
               corner of Parcel 32.




                                                EXHIBIT “A”
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              mo i                               TO LEASE
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            Lessee may use the foregoing Remediation Easement for each of the following purposes
     so long as Lessee shall avoid or, to the'extent possible, minimize interference with the
     development, use, and/or operation of the premises affected by the Remediation Easement:

                           i)    Vehicular and pedestrian entry on and over and access to the
     Remediation Easement Area, including, without limitation, those area(s) of the Remediation
     Easement Area upon which currently exist monitoring wells which sample the soil, soil vapor
     and/or groundwater, by Lessee, its agents, consultants, attorneys, contractors, engineers,
     employees and other representatives (“Permittees”) for the purpose of conducting any
     environmental tests or samples of the soil, soil vapor and/or groundwater of the Remediation
     Easement Area that Lessee may deem necessary or appropriate for the characterization, analysis,
     monitoring and/or remediation (collectively, the “Remediation5') of the Leased Premises and/or
     the Remediation Easement Area; and

                            ii)    The Remediation of any Hazardous Material Condition (as
     hereinafter defined) and for the installation, inspection, use, operation, maintenance, repair and
     removal by Lessee and its Permittees of any of Lessee’s “Remediation Equipment” (as
     hereinafter defined) which currently exists or is later installed on the Property in connection with
     the Remediation of any Hazardous Material Condition. As used herein, the term “Remediation
     Equipment” means; (a) any and all existing facilities for Remediation which arc now located in.
     on, under or about the Remediation Easement Area; (b) any new facilities for Remediation that
     may be installed in, on, under or about the Remediation Easement Area and/or (c) any facilities
     that may be required by an any governmental authority with jurisdiction over any Hazardous
     Material Condition and/or the Leased Premises or the Remediation Easement Area to be installed
     and (d) any replacements and upgrades of the facilities described in (a)-(c) of this sentence.
     Remediation Equipment shall include, without limitation, monitoring, containment, extraction,
     treatment and discharge facilities, structures, equipment, devices, pipes, systems or other
     infrastructure items for Remediation. As used herein, the term “Hazardous Material Condition”
     means the presence on, in or under the Leased Premises and/or the Remediation Easement Area
     (including without limitation die soil, soil vapor and/or groundwater of same) of any Hazardous
     Material at levels of contamination that require Remediation under standards required by
     applicable Environmental Laws.

            TOGETHER WITH a nonexclusive casement (the “Watermain Easement”) over, under,
     and across a 14’ strip of land located along the westernmost boundary of the adjacent premises,
     more particularly depicted on Exhibit “B” (the “Watermain Easement Area' ).

            RESERVING THEREFROM, together with the right to grant and transfer same, a
     nonexclusive easement and right-of-way (the “Road Easement”) for the purposes of access over
     and across a 28’ strip of land located along the westernmost boundary of the Leased Premises,
     more particularly depicted on Exhibit “B” (the “Road Easement Area").




                                                    -2-
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Case 2:17-cv-07732-DSF-JPR Document 1-1 Filed 10/23/17 Page 57 of 77 Page ID #:81




                                                   .NORTHWESTERLY CORNER                                     SKYPARK DRtVE                                               northeaste
                                                   OF PARCEL 32                                                                                                          Of PARCEL 3
                                                                                          S       62*26*0S'*        L=1799.3f
                                                                        938.12'                                                                                          861 .S3'


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                                                                            489.814 SOFT                                                           14'             610.035 SOFT



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                                         NORTH                                  1-2 s sra'ir w           106;10/ r
                                                                               L-3 S 38.*38'49” W ' iitoi*- .                                                          WATER L
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Case 2:17-cv-07732-DSF-JPR Document 1-1 Filed 10/23/17 Page 58 of 77 Page ID #:82




                                        ,N0R7KV£ST£RIV CORNER                         SKYFARK          DmE                       NORTHEASTERLY
                                        OF PARCEL 32                                                                             OF PARCEL 32
                                                                           S 6Z'2Q,a6,>       L=1799.81.'
                                                         938.12'                                                                 861.69’
                                                    S 62‘28'OS” E                                                          ,V 62'26‘06” W


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                                                                                “CfCTTSCE          “
                                                                   LINE          BEARING ‘ ' DISTANCE                                             EX
                                                                   L—1         S 6'21'ir E     61.46“
                                  NORTH                            L-2     s si-cnr       W        105.10’
                                                                   L-3     S   38^8’43: W          180,6;’                      DRIVEWA
 * r j » y • » A-y




                     200’           0            200‘              L-4     N    5V27/U" V/: :•    .mM
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                                                                .L-6''-    Ky3&3&4&%E               55.00’TV.,
                      SCALE; 1 =
                                                                                                                                          ;
Case 2:17-cv-07732-DSF-JPR Document 1-1 Filed 10/23/17 Page 59 of 77 Page ID #:83




                                   EXHIBIT “B”


                        DEPICTION OF THE LEASED PREMISES


                                 [SEE ATTACHED]




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    ol.vOWSTO-OiJftf
    -I7U52'0'> I’Md-l              TO LEASE
    Case 2:17-cv-07732-DSF-JPR Document 1-1 Filed 10/23/17 Page 60 of 77 Page ID #:84




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                                           EXHIBIT “C”


                         DESCRIPTION OF THE PROJECT AND CONCEPTUAL ELANS


                                         [SEE ATTACHED]




                                           EXHIBIT '‘C1'
    <•1 yw<lyl't-OOl>K
                                            TO LEASE
Case 2:17-cv-07732-DSF-JPR Document 1-1 Filed 10/23/17 Page 62 of 77 Page ID #:86




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Case 2:17-cv-07732-DSF-JPR Document 1-1 Filed 10/23/17 Page 63 of 77 Page ID #:87




                                   EXHIBIT “D1’

                          QUITCLAIM DEED AND RELEASE

                                 [SEE ATTACHED]




                                  EXHIBIT -ly’
    6l5't«i357‘J-()06S
    47052.V0') I’M0-1              TO LEASE
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            Recorded May 13. 1943
            BOOK 27145 Pages 362-363 Incl.

                                      QUITCLAIM     DSTED


                       THIS INDENTURE, ntade this   5th    day of   March_________,
            1948# berweejn the United States ol: ■America, acting by and through
            the War Assets Administration, and pursuant to Reorganization Plan
            1 of 1947 (12 F.R* 4534), and pursuant to the powers and authority
            contained in the provisions of the Surplus Property Act of 1944
            (58 Star. 765) as amended, and applicable rules, regulations and
            orders, GRANTOR and the City of Torrance, a taunicipal corporation
            under the laws of the State of California, acting by and through
            its City Council, ‘GRANTEE,

                     WITNESSETH: That the said Grantor, for and in consider­
           ation of the assumption by the Grantee of all the obligations and
           its taking subject to certain reservations, restrictions, and
           conditions, and its covenant to abide by certain ocher reservations.
           restrictions, and conditions, all as set out hereinafter, has
           remised, released, and forever quitclaimed, and by these presents
           does remise, release, and forever quitclaim unto the said Grantee,
           its successors, and assigns, under and subject to the reservations,
           restrictions, and conditions, exceptions and rights hereinafter set
           out, all its right, title, and interest in the following described
           property situated in the County of Los Angeles, State of California,
           to wit:

                      That portion of Lot 1 of Tract No. 97S5, as per map
                      recorded in Sook 17Q, Pages 10, 11 and 12 of Maps, in .
                      the office of the County Recorder of Los Angeles
                      County, in the City of Torrance, County of Los Angeles,
                      State ox California, and described as follows:

                      Beginning at the northeasterly comer of said Lot 1;
                      thence along the East line of said Lot 1, South
                      0° 03* 45” East 4302.77 feet to the center line of the
                      Pacific Coast Highway, 100 fe,et wide, as described in
                      the deed to the State of California recorded in Booh
                      12743, Page 23 of Official Records of said county: thence
                      along said center line as follows;

                     South 89° 56' 15" (vest 26.04 feet to the beginning of
                     curve concave northerly and having a radius of 1146.28
                     feet; thence westerly along the arc of said curve
                     821.34 feet; thence North 49° 00’ 20" West 2390.49 feet;
                     thence North 49° 00* 56'■ West 11.96 feet ro the be­
                     ginning of a curve concave northeasterly and having a
                     radius of 14,000 -feet: thence along the arc of said
                     cuxVe 777.84 feet: thence North 45° 49’ 56" West 3481.23
                     feet to the beginning of a curve concave southwesterly
                     and having a radius of 3000 feet: thence northwesterly
                     along the arc of said curve 400;42 feet to the inter­
                     section of said center line with the West line of said
                     Lot L; thence along said West line North 0° 01' 26'*
                     West 1783.98 feet; thence South 51° 45' 55'' East 6984.73
                     feet; thence North 30° 14' 05” East, 550 feet; «.b«nce
                     North 51° 45‘ 55" West 6534.31 feet to a point an the
                     northeasterly line of said Lot 1, said last mentioneH



                                       EXHIBIT "H
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                        point being distant along said northeasterly line
                        South 62° 50* 50“ East, 780.39 feet from the most
                        northerly comer of said Lot 1; thence South 62° 50' SO"
                        East along the said northeasterly line of Lot 1, a
                        distance of 5921.76 feet to the northeasterly comer of
                        said Lot 1, the point of beginning, containing 385.463
                        acres, more or less:

                                  Excepting therefrcm:

                                  PARCEL 1-i

                       An eas.ement for embankment slopes upon, over and across
                       that portion of said Lot 1 of Tract No. 9765, described
                       as follows:

                       Beginning at the most northerly comer of said Lot 1;
                       thence South 62° 50’ SO” East along the northeasterly
                       line of said Lot 1, a distance of 780.35 feet? thence
                       South 51° 45’ SS1* East 3334.31 to the TRUE POINT OF
                       BEGINNING OF PARCEL 1-A;

                       Thence South 54° 37* 40H East a distance of 400.50 feet
                       more or less; thence South 51° 45* 55’’ East 2300 feet;
                       thence South 45° 03* 17" East 201 feet; thence North
                       51° 45* 55" West 2900 feet to the true point of be­
                       ginning;

                                 and excepting therefrom:

                                 PARCEL 1-3

                       An easement for road purposes upon, over and across that
                       portion of said Lot 1 of Tract 9755, included within a
                       strip of land 40 feet wide, being 20 feet on each side of
                       the following described center line:

                      ■ Beginning at the most northerly comer of said Lot 1:
                        thence South 62° 50' 501' East along the northeasterly
                        line of said Lot 1, a distance of 780.39 feee; thence
                        South 51° 45* 55” East 6534.31 feet; thence South
                        38° 14* OS’* West 230 feet to the TRUE POINT OF BEGINNING
                        OF PARCEL 1—0;

                       Thence South 510-45' 55“ East 159.79 feet: thence
                       southwestcrLy 133.72 feet along the arc of a curve
                       concave northeasterly and having a radius of 200 feet;
                       thence North 89^ 55’ 35” East 50.37 feet, to a point on
                       the westerly prolongation of the center line of 251st
                       Street, shown as Almond Street on map recorded in Book
                       17, page 125 of Maps, in the office of cne County P.ecorde
                       of Los Angeles County, State of California, said point
                       being South 0° 03* 45” East, 25 feet frcm the southwest
                       corner of Lot 10 of Tract No. 592 as shown cn said cap
                       recorded in Book 17, page 125 of Maps:

                                 and excepting therefrom,-



                                      EXHIBIT '’ET' .
                                   Page 2 of 8 Pages
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             Rscordra May 13, 1948
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                                  PARCZX. 1-C

                       An easenent for drainage facilities upon, over and
                       across that porcion of said Lot 1 of Tract Mo. 9765,
                       included within a strip of land 52 feet wide, being
                       26 feet on each side of the following described center
                       line;

                       Beginning at a point on the northeasterly line of said
                       Lot 1, distant thereon. South 62° 50' 50“ East 397B.S2
                       feet from the most northerly comer of said Lot: thence
                       South 0° 50’ 55” East, 782.14 feet; thence South
                       15d 09’ OS” West 848.57 feet.*

                       Thence southwesterly along a curve concave north­
                       westerly, tangent to last described line and having "
                       a radius of 520.60 feet; through an angle of 45° 30'
                       and an arc distance of 449.77 feet: thence.tangent
                       South 64° 39* 05” West, 60S feet to a point in an
                       existing drainage channel:

                       AND ALSO, an easement for drainage facilities upon,
                       over and across that portion of said Lot 1, included
                       within a strip of land 32 feet wide, being IS feet on
                       each side of the following described center line:

                       Beginning at the Southerly terminus of that certain
                       course herein described as having a length of 848.57
                       feet; thence southeasterly along a curve concave
                       northeasterly, tangent to said course having a length
                       of 848.57 feet and having a radius of 550 feet,
                       through an angle of 41° 00', an arc length of 293.57
                       feet; thence tangent South 25° 50’ 55” East, a distance
                       of 574.05 feet; thence southerly along a curve concave
                       Westerly, tangent to last described course and having
                       a radius of 500 feet, through an angle of 25° 39', an
                       arc distance of 223.84 feet; thence tangent South
                       Q° 11* 55'' East, a distance of 200 feet to a point in
                       an existing drainage channel.

                        TOGETHER vriTH those certain chattel enumerated in Exhibit
             "0" attached hereto and made a part hereof; and TOGETHER WITH all
             buildings, structures, and improvements located thereon, except
             those thirty-four (34) structures hereinafter enumerated, and
             described in a certain inventory attached hereto and made a part
             hereof, marked Exhibit "A", and located on that portion of the
             demised premises more particularly described in said Exhibit "A”,
             being a part of the same -property acquired by the United States ■>£
             /.merica uncer proceedings in condemnation had in Case Ko. 2527-RrI,
             Civil, of record in the District Court of the United States,
             Southern District of California, Central Division.

                        The above- described premises are transferred subject to
             tr>e following encumbrances: All existing easements for roads,
             highways, puolic utilities, railways, and pipe lines: leasehold
             interest executed by the Grantor as Lessor and by A.P. Wright as




                                      EXHIBIT "H"
                                    '-T'»   1   r>F   fl   PaCTPS
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               BOOK 27L45 Pages 362-368 Tncl.

               Lessee, designated as Lease Mo. V/-04-*193-Eng.-4974, dated April 17,
               1945: and the right o£ the United States of America to occupy use.
               and maintain in place, together with reasonable means oc ingress
               and egress without payment to the Grantee, its successors, or
               assigns, all the buildings and structures enumerated in Exhibit
               “A"* and located on the demised premises.

                         EXCEPTING, HOWEVER, from this conveyance all right, title,
               and interest in and to all property in the nature of equipment,
               furnishings, and other personal property which can be removed from
               the land without material injury to the land or structures located
               thereon other than those chattels enumerated in Exhibit "B"; and
               reserving to the Grantor the right of removal from the premises of
               the personal property excepted hereby within a reasonable period
               of time after the date hereof, which shall not be construed to
               mean any period leas than one (1) year after the data of this ..
               instrument,

                         AfTO FURTHER EXCEPTING, from this conveyance and reserv­
               ing to the GRANTOR, in accordance with Executive Order 9903
               approved December 5, 1947 ,(12 F.R. 8223), all uranium, thorium,
               and all other materials determined pursuant to section 5 (b) (1)
               of the Atomic Energy Act of 1946 (60 Stat. 761) to be peculiarly
               essential to the production of fissionable material, contained, in
               whatever concentration, in deposits in the lards covered by this
               instrument, together with.the right of the United States through
               its authorised agents or representatives at any time to enter upon
               the land and 'prospect for, mine, and remove the same, making just
               compensation for any damage or injury occasioned thereby.   However,
               such land may be used, and any rights otherwise acquired by this
               disposition may be exercised, as if no reservation of such material
               had been made; except that, when such use results in the extraction
               of any such material from the land in quantities which may not be
               transferred or delivered without a license under the Atonic Energy
               Act of 1946, as it now exists or may hereafter be amended, such
               material shall be the property of the United States Atomic Energy
               Commission, and the Commission may require delivery of such
               material to it by any possessor thereof after such material has
               been separated as such from the ores in which it was contained.
               If the Commission requires the delivery of such material to it, it
               shall pay to the person mining or extracting the same, or to such
               other person as the Commission determines to be entitled thereto,
               such sums, including profits as the Commission deems fair and
               reasonable for the discovery, mining, development, production,
               extraction and other services performed with respect to such
               material prior to such delivery, but such payment shall not includ
               any amount on account o£ the value of such material before removal
               frem its place of deposit in nature.   If the Commission does not
               require delivery of such material to it. the reservation hereby
               made shall be of no further fores or effect.

                         AND FURTHER EXCEPTING from this conveyance and reservinc
               to the Grantor all minerals, other than those specifically men­
               tioned in the last paragraph above, and all petroleum in the above
               described land, together with the exclusive right at any and ail
               times to enter upon the lands and prospect for, mine for, and
               remove such minerals or petroleum, with all necessary and conven—




                                      EXHIBIT "H"
                                   Page <1 of 8 Pages
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              lent means of working and transporting the materials and supplies;
              and reserving unto the Grantor the exclusive right at any tirts to
              drill from adjacent premises into and through the sub-surfacc or
              the land hereby transferred, in order to recover, remove, and
              transport therefrom any minerals or petroleum heroin reserved.   By
              accepting this instrument, or any rights hereunder, the said Grantee
              hereby releases the Grantor from any and all liability for all
              claims and losses or damage arising out of the exceptions and
              reservations above.

                        Said property transferred hereby was duly declared
              surplus and was assigned to the War Assets Administration for
              disposal, acting pursuant to the provisions of the above-mentioned
              Act, as amended. Executive Order 9S89, and applicable rules, reg­
              ulations, and orders.

                        By the acceptance of this deed or any rights hereunder,
              the said Grantee, for itself, its successors, and assigns agrees
              that transfer of the property transferred by this instrument, is
              accepted subject to the following restrictions set forth in sub-
              paragraphs (1) and {2) of this paragraph, which shall run with
              the land, imposed pursuant to the authority of Article 4, Section
              3, Clause 2 of the Constitution of the Dnited States of America,
              the Surplus Property Act of 1S44, as amended. Reorganization Plan
              1 of 1947 (12 T.R. 4534], 'and', applicable rules, regulations, and
              orders:

                        (1) That all of the property transferred hereby, here­
              after in this instrument called the "airport'', shall be used for
              public airport purposes, and'only for such purposes, on reason­
              able terms and without unjust discrimination and without grant or
              exercise of any exclusive right for use of the airport within the
              meaning of Section 303 of the Civil Aeronautics Act of 193Q.

                         (2j  That the entire landing area, as hereinafter def­
              ined, and all structures, improvements, facilities, and equipment
              of the airport shall be maintained at all times in good and
              serviceable condition to assure its efficient operation: provided,
              however. Chat such maintenance shall be required as to structures,
              improvements, facilities, and equipment only during the remainder
              of their, estimated life, as determined by the Civil Aeronautics
              Administration or its successor Government agency.   In the event
              materials are required to rehabilitate or repair certain' of the
              aforementioned structures, improvements, facilities, or equipment
              they may be procured by demoliton of other structures, improve­
              ments, facilities, or equipment transferred hereby and located on
              the above-described premises, which have outlived their use as
              airport property in the opinion of the Civil Aeronautics Admin­
              istration or its successor Government agency.

                        By the acceptance of this deed or any rights hereunder,
              the said Grantee for itself, its successors, and assigns, also
              assumes the obligations of, covenants to abide by, and agrees to,
              and this transfer is made subject to, the following reservations
              and restrictions set forth in subparagraphs (L) to (6} of this
              paragraph, which shall run with the Land, imposed pursuant to the




                                      EXHIBIT   "H"
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               authority of Article 4, Section 3, Clause 2 of the Constitution
               of the United States of America, the Surplus Property Act of 1944,
               as amended, Reorganization Plan 1 of 1947 {12 F.R. 4534), and
               applicable rules, regulations and orders:

                         (1) That insofar as is within its power and reasonably
              possible, the Grantee and ail subsequent transferees shall prevent
              any use of land either within or outside the boundaries of the
              airport, including the construction, erection, alteration, or
              growth of any structure or other object thereon, which use would
              be a hazard to the landing, taking-off, or maneuvering of aircraft
              at the airport, or otherwise limit its usefulness as an airport.

                        (2)  That the building areas and non-aviation facilities,
              as such terms are hereinafter defined, of or on the airport shall
              be used, altered, modified, or improved only in a manner v/hich does
              not interfere with the efficient operation of the landing area end
              of the airport facilities, as hereinafter defined.

                         (3) That itinerant aircraft owned by the United States
              of America (hereinafter sometimes referred to as the "Government")
              or operated by any of its employees or agents on Government bus­
              iness shall at all times have the right to use the airport in
              common with others; Provided, however, that such use may be limited
              as may be determined at any time by the Civil Aeronautics Admin­
              istration or its successor Government agency to be necessary to
              prevent interference with use by other authorized aircraft, so long
              as such limitation does not restrict Government use to less than
              twenty-five (25) per centum of capacity of the landing area of the
              airport.  Government use of the airport by virtue of the provisions
              of this subparagraph shall be without charge of any nature other
              than payment for damage caused by such itinerant aircraft.

                          (4) That during the existence of any emergency declared
              by the President of the United States of America or the Congress
              thereof, the Government shall have the right without charge, ex­
              cept as indicated below, to the full, unrestricted possession,
              control,- and use of the landing area, building areas, and airport
              facilities, as such terms are hereinafter defined, or any part
              thereof, including any additions or improvements thereto mace sub­
              sequent to the declaration of any part of the airport as surolus;
              Provided, however, that the Government shall be responsible during
              che period of such use for the entire cost of maintaining all 'such
              ureas, facilities, and improvements, or the portions used, and
              shall pay a fair rental for the use of any installations or struct
              ures v/hich have been added thereto v/ithout Federal aid.

                        (5)  That no -exclusive right for the use of any landing
              area of air navigation facilities, included in or on the airport
              shall be granted or exercised.

                        (6)  That the property transferred hereby may be succes­
              sively transferred only with the approval of the Civil Aeronautic:
              Administration or its successor Government agency, and with the
              proviso that any such subsequent transferee assumes all the obli­
              gations imnoced upnn the Grantee by the provisions of this inctru-
              men t.



                                      EXHIBIT "H"
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                   Hecordcc May 13. I9-4S
                  BOOK 27U5 Pages 352-:-6g Incl.

                            As used in this CuitclaL-n Deed, the following terras shall
                  have the following meanings:

                             (a) “Landing Area" means any land, or combination of
                  water and land, together with improvements thereon and necessary
                  operational equipment used in connection therewith, which is used
                  for landing, take-offs, and parking of aircraft. The tem includes
                  but is not limited to, runways, strips, taxiways, and parking
                  aprons.

                             (b) "Building Area" means any Land ocher than a landing
                  area, used or necessary for or in connection with the operation or
                  maintenance of an airport.

                    i       (c)  "Non-aviation facilities" means any building, struct­
                  ures, improvements and equipment located in a building area and
                  used in connection viith, but not required for the efficient u
                  operation and maintenance of the landing area or the airport
                  facilities.

                             (d) "Airport facilities’* means any buildings, structures,
                  improvements and operational equipment other than non-aviation
                  facilities, which are used and necessary for or in connection with
                  the operation and maintenance of an airport.

                           By acceptance of this instrument or any rights hereunder,
                 the Grantee further agrees with the Grantor as follows:

                            (1) ' That upon a breach of any of the aforesaid reser­
                 vations or restrictions by the Grantee or any subsequent trans­
                 feree, whether caused by the legal inability of said Grantee or
                 subsequent trr.ns iieree to perform any of the obligations haaein
                 set out, or otherwise, the title, right of possession, and ail
                 other rights transferred to the Grantee, or any portion thereof,
                 shall at the option of the Grantor revert to and become the
                 property of the United States of America upon demand made in
                 writing by the War Assets Administration or its successor Govern­
                 ment agency at least sixty (6C> days prior to the date fixed for
                 the revesting of such title, right of possession, and other rights
                 transferred, or any portion thereof: Provided, that, as Co
                 installations or structures which have been added to the premises
                 without Federal aid, the United States of America, shall have the
                 option to acquire title to or use of the same at the then fair
                 market value of the rights therein to be acquired by the United
                 States of America.

                            (2)  That if the construction as covenants of any of
                 the foregoing reservations and restrictions recited herein as
                 covenants, or the application of the same as covenants in any
                 particular instance is held invalid, the particular reservations e
                 restrictions in question shall be construed instead merely as
                 conditions upon the breach of which the Grantor may exercise its
                 option to cause the title, right of possession and all ocher
                 rights transferred to the Grantee, or any portion thereof, to
                 revert to the United States of America, and the eppLicarion of su
                 reservations or     trict-ions as covenants in any other instance a




                                          EXHIBIT ''H”
                                       Page 7 of 8 Pages
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                Recorded May 13, 194?
                BOOK 27145   Pages 362-36? Ir.cl.

                the construction of the remainder of such reservations and restrict­
                ions as covenants shall not be affected thereby.

                         TO HAVE AKD TO HOLD the said premises, with appurten­
               ances, except those rights excepted and reserved above, and under
               and subject to the aforesaid reservations, restrictions, and
               conditions, unto the said Grantee, its successors, and assigns
               forever*

                         IN WITNESS WHEREOF, the Grantor has caused these
               presents to be executed as of the day and year first above
               written.

                                                THE UNITED STATES OF AMERICA
                                                Acting by and through
                                                WAR ASSETS ADMINISTRATION


                                                By s/ ROBERT P. ALFORD
                                                  DEPUTY REGIONAL DIRECTOR
                                                  For Real Property Disposal
                                                  Los Angeles Regional Office
                                                  War Assets Administration

               WITNESSES:

               s/   Devera L, Scholneh_______

               s/   Doris Goodman




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                                      [EXHIBIT “E”j

                       FAA PROVISIONS AND AVIGATION REQUIREMENTS

                                    [SEE ATTACHED]




                                      EXHIBIT llE'
   (.i vi)W5
   -I7»t523 tW I'MlM                   TO LEASE
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                     losses agrsss zp 3S3er*/e rha ;oliowir.g previsions rsceired by the
           Federal Aviation Adsirii sera cion:

                     (a)  Lassee Ln rhe operacians Co be conduccad pursuant co cne pro­
           visions of this iaase and otherwise in the use o£ the airport, will not
           discriminate or pertJtt discrimination apainst any person or class cc persons
           by reason of race, color, creed or national origin in any manner prohibited by
           Part 15 of the Federal Aviation Aegulacions or any amendments thereto.

                      tb) Lessee shall furnish its acconodations and/or services on a
           fair, equal and not unjustly discriminatory basis to all users thereof and it
           shall charge fair, reasonable and not unjustly discriminatory prices for each
           unit of servicei PFCV1DSD, THAT the Lessee may be allowed to make reasonable
           and nan-discriminatory discounts, rebates, or other similar type of price
           reductions to volume purchasers.

                     (c)  Lessee shall make its accomedatians and/or services available
           to the public on fair and reasonable terms without unjust discrimination on
           the basis of race, creed, color or national origin.

                      (d) Non-compliance with provisions (a), <b) and Cc) above shall
           constitute a material breach thereof and in the event of such non-compliance
           the City shall have the right ta terminate this leesa and the estate hereby
           created without liability therefor or at the election of.the City or the
           united Scatas. either or both said Govarrmants shall have the right m
           judicially enforce said provisions (a), (b) and (c).

                      (e) Lessee agrees that it shall insert the above four provisions
           in ary lease by which said Lessee grants, a right or privilege to any person,
           firm or corporation Co render accomodations and/or services to the public on
           the premises herein leased.

                     (f) The City reserves the right to further develop or improve the
           landing area of the airport as it sees fit, regardless of the desires or view
           of the Lessee, and without interference’.or hindrance.

                      (g) The City reserves the right, but shall not be obligated to the
           Lessee, to maintain and keep in repair the landing area of the airport and
           all publicly-owned facilities of the airport, together with the right to direct
           and control all activities of the lessee in this regard.

                     (h)  This lease shall be subordinate to the provision* and require­
           ments of any existing or future agreement between the City and the United
           States, relative to the development, operation or maintenance of the airport,

                     <i)  Lessee agrees to comply with the notification and review
           requirements covered in Part 77 of the Federal Aviation aegulations in the
           event any future structure or building is planned for the leased premises, or
           in the event of any planned modification or alteration of any present or
           future building or structure situated on the leased premises.

                     (j)  It is understood and agreed that nothing herein contained shall
           be construed co grant or authorize the granting of an exclusive right within
           the meaning of Section 308 of the Federal Aviation Act.

                     (k) This lease and all the provisions hereof shall be subject to
          whatever right the United States Government now has or in the future may have
          or acquire, affecting the control, operation, regulation and taking over of
          said airport or Che exclusive or non-exclusive use of the airport by the
          United States' during the time of war or national emergency.




                                                                EXHIBIT   111’1

                                                              Page 1 of 1     Page




                                            EXHIBIT "X"
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                                           CITY                     OF
                                   TORRANCE
                                          CITY MANAGER’S OFFICE

      LeRoy J. Jackson                                                                        Brian Sunshine
        City Manager                                                                   Assistant to the City Manager
                                                                                              (310) 618-5880
                                                                                          bsunshine@Jorrnct.com

         October 9,2006


        Hi-Shear Corporation
        Attn: Mary Hanley or Chief Financial Officer
        2600 Skypark Drive
        Torrance, California 90509

        Subject: Scrivener’s error Legal Description Exhibit “A” Lease Number C2004-154

        Dear Ms. Hanley:

        Please find attached a revised legal description for your Lease with the City of Torrance.
        The revised Exhibit “A” has a correction to a scrivener’s error that does not change any of
        your lease area boundaries. The correction to the legal description is found as follows:


                That portion of Parcel 32 of Official Map No. 2 in the City Of Torrance,
                County of Los Angeles, State Of California, as Recorded in Book 5 pages
                44-51 in the Office of Said County Recorder, Described as beginning at
                the Northeasterly corner of said Parcel 32, Thence Along Northerly Line of
                Parcel 32 North 62 Degrees 26 Minutes 06 Seconds Said Northerly Line
                Also being the Southerly Line of Skypark Drive 861.69 Feet, Thence
                leaving the Northerly line of Parcel 32 South 27 degrees 33 Minutes 44
                Seconds West 422.25 feet. Thence South 6 Degrees 21 Minutes 11
                Seconds East 61.46, Thence South 51 Degrees 21 Minutes 11 Seconds
                West East 106.10 Feet, Thence South 38 Degrees 38 Minutes 49 Seconds
                West 180.61 Feet to a point on the Southerly line of Parcel 32, Thence
                along the Southerly line of Parcel 32 South 51 Degrees 21 Minutes 11
                Seconds East 759.70 Feet, Thence North 38 Degrees 38 Minutes 49
                Seconds 65.00 Feet, Thence North 27 Degrees 33 Minutes 54 Seconds
                East 753.32 Feet to the northeasterly corner of Parcel 32.




         3031 Torrance Boulevard ♦ Torrance, California 90503 • Telephone 310/618-5880 • Fax 310/618-5891
                 email: bsunsliine@tomiet.com * Visit Torrance^ home page: hJtpr/AvwwJorrnei.coni
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        Please insert the revised Legal Description with the documents you have on file for this
        Lease,

       If you have any questions, feel free to call me at 310-618-5887.




       Assistant to the City Manager




       Attachment:
       Exhibit “A” to Lease as corrected

       CC:
       City Clerk
       3031 Torrance Boulevard
       Torrance, CA 90503

       James D. Robinson
       Kelly Lytton & Vann, LLP
       1900 Avenue of the Stars, Suite 1450
       Los Angeles, California 90067
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                                              EXHIBIT “A"

                             LEGAL DESCRIPTION OF THE LEASED PREMISES


                The real properly is located in the County of Los Angeles, State of California and
         is more particularly described as follows:




               That portion of Parcel 32 of Official Map No. 2 in the City Of Torrance,
               County of Los Angles, State Of California, as Recorded in Book 5 pages 44 -
               51 in the Office of Said County Recorder, Described as beginning at the
               Northeasterly comer of said Parcel 32, Thence Along Northerly Line of Parcel
               32 North 62 Degrees 26 Minutes 06 Seconds Said Northerly Line Also being
               the Southerly Line of Skypark Drive 861.69 Feet, Thence leaving the Northerly
               line of Parcel 32 South 27 degrees 33 Minutes 44 Seconds West 422.25 feet.
               Thence South 6 Degrees 21 Minutes 11 Seconds East 61.46, Thence South 51
               Degrees 21 Minutes 11 Seconds East 106.10 Feet, Thence South 38 Degrees
               38 Minutes 49 Seconds West 180.61 Feet to a point on the Southerly line of
               Parcel 32, Thence along the Southerly line of Parcel 32 South 51 Degrees 21
               Minutes 11 Seconds East 759.70 Feet, Thence North 38 Degrees 38 Minutes
               49 Seconds 65.00 Feet, Thence North 27 Degrees 33 Minutes 54 Seconds East
               753.32 Feet to the northeasterly corner of Parcel 32

               TOGETHER WITH a nonexclusive easement (the “Remediation Easement”)
        over, under, and across that certain real property located in the County of Los Angeles.
        State of California and is more particularly described as follows (the ’‘Remediation
        Easement Area”):

              That portion of Parcel 32 of Official Map No. 2 in the City Of forrance.
              County of Los Angeles, State Of California, as Recorded in Book 5 pages 44 -
              51 in the Office of Said County Recorder, Described as beginning at (he
              Northwesterly comer of said Parcel 32, Thence South 62 Degrees 26 Minutes
              06 Seconds East 938.12 along the northerly line of Parcel 32, said northerly
              line also being the Southerly line of Skypark Drive, Thence leaving the
              Northerly line of Parcel 32 South 27 degrees 33 Minutes 44 Seconds West
              422.25 feet, Thence South 6 Degrees 21 Minutes 11 Seconds East 61.46.
              Thence South 51 Degrees 21 Minutes 11 Seconds West 106.10 Feet, Thence
              South 38 Degrees 38 Minutes 49 Seconds West 180.61 Feet to a point on the
              Southerly line of Parcel 32, Thence along the Southerly line of Parcel 32 North
              51 Degrees 21 Minutes II Seconds West 162,50 Feet, Thence Continuing
              along the Southerly line of Parcel 32 North 38 Degrees 38 Minutes 49 Seconds
              East 65.00 feet, Thence Continuing along the Southerly line of Parcel 32 North
              51 Degrees 21 Minutes 11 Seconds West 911.77 Feet to the Westerly Line of
              Parcel 32, Thence Along the Westerly Line of Parcel 32 North 27 Degrees 33
              Minutes 54 Seconds East 401.10 Feet to the Northwesterly comer of Parcel 32.


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                Lessee may use the foregoing Remediation Easement for each of the following
         purposes so long as Lessee shall avoid or, to the extent possible, minimize interference
         with the development, use, and/or operation of the premises affected by the Remediation
         Easement:

                              i)     Vehicular and pedestrian entry on and over and access to
        the Remediation Easement Area, including, without limitation, those area(s) of the
        Remediation Easement Area upon which currently exist monitoring wells which sample
        the soil, soil vapor and/or groundwater, by Lessee, its agents, consultants, attorneys,
        contractors, engineers, employees and other representatives (“Permittees”) for the
        purpose of conducting any environmental tests or samples of the soil, soil vapor and/or
        groundwater of the Remediation Easement Area that Lessee may deem necessary or
        appropriate for the characterization, analysis, monitoring and/or remediation
        (collectively, the “Remediation”) of the Leased Premises and/or the Remediation
        Easement Area; and

                                ii)    The Remediation of any Hazardous Material Condition (as
         hereinafter defined) and for the installation, inspection, use, operation, maintenance,
         repair and removal by Lessee and its Permittees of any of Lessee’s “Remediation
         Equipment” (as hereinafter defined) which currently exists or is later installed on the
         Property in connection with the Remediation of any Hazardous Material Condition. As
         used herein, the term “Remediation Equipment” means; (a) any and all existing facilities
         for Remediation which are now located in, on, under or about the Remediation Easement
         Area; (b) any new facilities for Remediation that may be installed in, on, under or about
         the Remediation Easement Area and/or (c) any facilities that may be required by an any
         governmental authority with jurisdiction over any Hazardous Materia! Condition and/or
        the Leased Premises or the Remediation Easement Area to be installed and (d) any
        replacements and upgrades of the facilities described in (a)-(e) of this sentence.
        Remediation Equipment shall include, without limitation, monitoring, containment,
        extraction, treatment and discharge facilities, structures, equipment, devices, pipes,
        systems or other infrastructure items for Remediation. As used herein, the term
        “Hazardous Material Condition” means the presence on, in or under the Leased Premises
        and/or the Remediation Easement Area (including without limitation the soil, soil vapor
        and/or groundwater of same) of any Hazardous Material at levels of contamination that
        require Remediation under standards required by applicable Environmental Laws.

                TOGETHER WITH a nonexclusive easement (the “Watermain Easement”)
        over, under, and across a 14’ strip of land located along the westernmost boundary of the
        adjacent premises, more particularly depicted on Exhibit “B” (the “Watermain Easement
        Area”).

               RESERVING THEREFROM, together with the right to grant and transfer
       same, a nonexclusive easement and right-of-way (the “Road Easement”) for the purposes
       of access over and across a 28’ strip of land located along the westernmost boundary of
       the Leased Premises, more particularly depicted on Exhibit “B” (the “Road Easement
       Area”).




       ili-Shear corrected legal
